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United States District Court,
District of Columbia

Matter of Due Process
Re: ECF 45

David Alan Carmichael, et al. )
Plaintiff, ) Case No: 19-CV-2316-RC
)
V. ) Complaint ‘Amended’ For
)
)

Michael Richard Pompeo, ef al.
Complaint — Second Amendment
INTRODUCTION

1. This is a civil action about a federal question regarding government accommodation
for religion. The Defendant has more than once provided a religious accommodation for
Plaintiffs’ requests for the Defendant to issue to a passport starting in 2007 and 2008,
notwithstanding that the Plaintiffs did not identify with a Social Security Number (hereinafter
“SSN”). It may have helped Carmichael to obtain a passport in 2008 and a passport renewal in
2018 due to evidence of the bona fides, sincerity, and the practice, of his Christian religion was
from the judgments against the government that he obtained in a SSN religious accommodation
case in 2002-2006 in David Alan Carmichael v. United States, 297 F3d. 1367, U.S. Ct. App.
(Fed. Cir. 2002) (dismissal vacated); 66 Fed. Cl. 115, U.S. Ct. Fed. Cl. (2005) (unlawful
dishcharge and military pay); 70 Fed. Cl. 81, 86 (2006)(E.A.J.A.)

2. Carmichael had vouched for the sincerity of the faith of some people in the past in
order for them to receive an accommodation for their religion to not identify with a SSN to get
their passport. Plaintiff Pakosz told Carmichael that his passport renewals request was denied
because he did not provide a SSN. Unlike Pakosz, Carmichael’s accommodation was granted
January, 2018. Yet, Plaintiff Lewis recently had his passport denied for the same reason as

Pakosz.

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3. When Carmichael contacted the passport agencies, Congressional Representatives,
and the White House to try to get access to a policy/practice correction for William and others,
an agent of the Defendant retaliated by sua sponte cancelling Carmichael’s current passport that
had been obtained by religious accommodation. Beside the First Amendment, the Religious
Freedom Restoration Act, and the President’s Executive Order 13798 Promoting Free Speech
and Religious Liberty (82 FR 21675) and its accompanying memorandum by the Attorney
General, the US Code relating to passports prohibits the refusal of a passport for things protected
by the First Amendment (free exercise of religion, etc.). The agent in Sterling, Virginia, will
allow an accommodation to the SSN if someone can prove that a SSN has never been associated
with them or for other ‘technical’ reasons, but seems hell-bent on excluding a passport to those
who cannot identify with a SSN for reasons of religion.

4. There isa U.S. Supreme Court SSN religious objection case, Bowen v. Roy, 476 U.S.
694, 708 (1986), whose approach to religion jurisprudence diverged from the compelling interest
standard of Sherbert v. Verner, 374 U.S. 398 (1963), and was cited in the Employment Division
v. Smith, 494 U.S. 872 (1990) to support its divergence from the Sherbert rule. Yet, even in
Bowen’s analysis, the Court said that hostility toward religion would be shown if the agency
grants an exception for one reason yet denies the exception for religion.

5. This matter requires the court’s declaration of law as it relates to the constitutionality of
the conduct of United States officers and agents, the guiding statutes and regulations. The
remedy required is writ of mandamus, declaratory judgment, and injunction for protection of
religion, and other relief in law and equity, and compensation for costs and fees where allowable
by statute. The case is brought ‘pro se’ until such time as any of the Plaintiffs can find a lawyer

to assist them, notwithstanding their poverty. This is the Complaint submitted by Carmichael on

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July 31, 2019, amended to include Joined parties in accordance with the Directive of the Court
Order of November 21, 2019.
PARTIES

6. I, David Alan Carmichael (herein “Carmichael”), am the Plaintiff, domicil of origin in
California. I reside in Virginia. I have the civil rights of a natural born citizen of the United
States of America, for the personam jurisdiction of the courts of the United States. Within a
week of filing my complaint, I Joined as complainant William Mitchell Pakosz (herein
“Pakosz’’), born in Illinois, and Lawrence Donald Lewis (herein “Lewis”), born in New Jersey;
having all the natural, common and civil rights of nationals or citizens of a State and the United
States. Facts in each Lewis’s and Pakosz’s situation are parallel to Carmichael’s; the
Defendant’s, the Jurisdiction, Venue, counts, and the relief are the same.

7. The Defendant is, Michael Richard Pompeo, in his official capacity as the Secretary of
State of the United States of America. The Defendant shall also be the United States Department
of State, and may also be co-conspirators and agents that shall be identified or confirmed upon
discovery. The offices of his are located at 2201 C. Street, N.W., Washington, D.C., 20520.

8. The Defendant is also the United States, accountable for the Constitutionality of its
positive law and the regulations of its agents; and is accountable for costs, compensation not
sounding in tort, or other things sounding in tort allowable under the Federal Tort Claims Act; or
where redress, relief, compensation or other things are provided by Acts of the Congress of the
United States.

JURISDICTION
9. The court has original jurisdiction in this case of law and equity, and the laws of the

United States, pursuant to the Constitution, according to United States Statutes At Large encoded

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in the United States Code series at 5 USC §552a, §§701-706; 18 USC §241, §245; 42 USC §408,
§2000bb-1; 28 USC §1331, §1346, §1361, §2201, §2202 for Writ of Mandamus, Declaratory
Judgment, Injunction, Restitution of costs and fees, Damages where allowable and Further
Relief.
VENUE

10. Pursuant to Federal Civil Procedure, 28 USC §1391 and §88, venue is properly in the
United States District Court, District of Columbia, where the Defendant and his agency’s
headquarters are in the City of Washington, D.C.

STATEMENT OF FACTS

11. Each of us has a need, a desire, a duty of religion and a right to exit and reenter the
United States at will in the ordinary course of life, business, and Carmichael for the sake of
Christian evangelism ministry. Carmichael has for the purposes of religion gone to another
country where the use of the United States passport (hereinafter “passport”) was a necessity to
accomplish that Christian ministry duty. Carmichael has been invited to assist in Christian
missions-ministry where the use of a passport is necessary to exit this country, enter another, and
to return.

12. The law of the United States at 8 USC §1185 says “...it shall be unlawful for any
citizen of the United States to depart from or enter, or attempt to depart from or enter, the United
States unless he bears a valid United States passport.” The Plaintiffs have no other documents
for travel that will suffice for the purposes of a passport. Denial of a United States passport for
which each is denied, unlawfully, makes the Plaintiffs’ outlaws to travel to and from the United
States, notwithstanding that some of that travel is for Christian Ministry and evangelism. It

places a substantial burden upon Plaintiffs’ religion, liberty and property rights.

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13. The U.S. passport application/renewal forms, DS-11 and DS-82 state:

“FAILURE TO PROVIDE INFORMATION REQUESTED ON THIS FORM,
INCLUDING YOUR SOCIAL SECURITY NUMBER, MAY RESULT IN
SIGNIFICANT PROCESSING DELAYS AND/OR THE DENIAL OF YOUR
APPLICATION.” (Emphasis added)

14. Each of the Plaintiffs are prohibited from identifying with a Social Security Number
(hereinafter SSN) on the basis of the Christian religion. Each man’s belief and practices are
sincere and bona fide. Any demand for either of them to identify with a SSN places a
substantial burden upon their religion.

15. The sincerity and bona fides of Carmichael’s belief and practice of religion, as well as
the substantial burden identifying with a SSN places upon his religion, were tested in the case
David Alan Carmichael v. United States, 297 F3d. 1367, U.S. Ct. App. (Fed. Cir. 2002)
(vacating dismissal); 66 Fed. Cl. 115, U.S. Ct. Fed. Cl. (2005) (unlawful dishcharge and military
pay); 70 Fed. Cl. 81, 86 (2006)(E.A.J.A.), where he prevailed substantially, obtaining a judgment
in a military pay case where his request for religious accommodation was not processed in
accordance with law and regulation.

16. Carmichael applied for a U.S. Passport on or about December 17, 2007, requesting a
religious accommodation to the requirement to identify with a SSN. He explained that his belief
and practices of religion makes identifying with a SSN something which he cannot do. The
accommodation request was approved and he was issued a U.S. Passport on or about January 23,
2008, passport #436634760.

17. December 2007, Pakosz was issued a passport from the Department of State without
having to identify with a social security number. His application included a request for religious

accommodation with a letter to Secretary of State Condoleezza Rice explaining the bona fides of

his religious beliefs and practices that prohibit him from identifying with a SSN. The section

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below, “Other Facts Particular to Plaintiff William Mitchell Pakosz” contains matters relating to
the recent denial of his passport renewal application.

18. Lewis applied for a passport in the year 2008. He made a request for religious
accommodation on the basis of Christian religion which demands that he cannot provide a Social
Security Number (hereinafter “SSN”). He explained the duties of his religion in a letter enclosed
with the passport application. The Defendant provided a religious accommodation for my request
and issued a passport to him on May 02, 2008, Passport Number 445066501, notwithstanding
that he did not identify with a SSN. The section below, “Other Facts Particular to Plaintiff
Lawrence Donald Lewis” contains matters relating to the recent denial of his passport renewal
application.

19. Onor about January 20, 2018, Carmichael applied to renew his passport. He
explained in writing a reiteration of the basis for his request for religious accommodation to not
have to identify with a SSN. He addressed his letter to “The Honorable Rex W. Tillerson,
Secretary of State.” He addressed it to Secretary Tillerson, since he understood that he had the
authority and particular responsibility to apply the laws protecting religion for the
accommodation of my religion. He invoked 42 USC § 2000bb and the First Amendment. His
accommodation request was approved and he was issued a U.S. Passport in January 30, 2018,
passport #573308010.

20. Onor about August 16, 2017, Pakosz submitted his application to renew his passport
that was originally issued December 11, 2007. In keeping with the renewal application
instructions, he submitted his then-current passport with the renewal application. His application
for passport renewal was sent with a request for religious accommodation and a note in the SSN

block, “Religious Prohibition 42 USC 2000bb.” He sent a copy of that correspondence to the

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Defendant as an exhibit 1 in his letter to him on February 20, 2019.

21. April 3, 2019, Lewis submitted his Passport Renewal Application, with his then
current passport, a photograph suitable for the passport, and a payment of $110.00 for the
required renewal fee. Included with his application was an express request for religious
accommodation to get relief from the form’s request to identify with a SSN. He addressed his
letter to “The Honorable Mike Pompeo, Secretary of State, United States Department of State,
Via: National Passport Processing Center, P.O. Box 90155, Philadelphia, Pennsylvania 19190-
0155.”

22. Pakosz contacted Carmichael and asked for assistance in getting a passport. Pakosz
allowed Carmichael to act as Pakosz agent in contacting the Defendant’s offices in Sterling,
Virginia. Carmichael knows of other people in his Christian fellowship or association that are
facing similar problems obtaining passports. When Carmichael found that the Defendant’s
Branch Director of the Sterling, Virginia Office was particularly involved in the denial of Pakosz
renewal request, Carmichael and others wrote letters to the U.S. President, Vice-President, and
legislators in the attempt to obtain a political solution. He asked for access to the White House’s
Religious Freedom Task Force that was announced in the news media. Instead of sending
Carmichael’s correspondence to the Task Force, or giving Carmichael a contact there, the White
House sent Carmichael’s correspondence to the very office of the Defendant that was the
problem.

23. Apparently in retaliation to his redress activities, a rogue agent of the Defendant sent
a letter to Carmichael saying that his current passport renewed on January 30, 2018, has been
cancelled and cannot ever be renewed unless he identifies himself with a SSN.

24. Carmichael oversees a Christian evangelism and discipleship missions-ministry since

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1998. In about 1999, he founded a ministry of biblical pastoral counseling and comfort, to those
who abide by the Christian religion of not identifying with the ‘Number of the Beast’ SSN. He
serves3there under the auspices of the American Christian Liberty Society (hereinafter A.C.L.S.)
25. Carmichael contacted the Defendant’s agency on behalf of Pakosz on or about March
12, 2019. He contacted the agency in Sterling, Virginia, by telephone and spoke to Christine L.
McClean, Branch Director, who introduced herself as Chris McClean without disclosing her title.
26. When Carmichael stated to Chris McClean that Pakosz was told in a letter that he

could not have an appeal hearing because he had not given a SSN, and that Defendant had not
disclosed an alternative to the appeal hearing to obtain a religious accommodation, Chris
McClean, stated that there was no other process than the appeal hearing for accommodation of
religion and that the law did not give the Defendant any discretion regarding religion.
Carmichael rebutted her. The conversation was:

Carmichael: “...,. He recently got a letter back and it merely stated that it was

from Bureau of Consular Affairs, Passport Services, Office of Legal Affairs, Law

Enforcement Liaison. It sort of said, ‘No, we can’t do it. You don’t get an appeal

hearing if you don’t provide a SSN.” But one of the things about his letter, it was

very clear. It was a request for religious accommodation. He certainly wasn’t

willfully, intentionally, negligently or recklessly not providing an SSN. And so he

addressed the issue of, it says they “may” turn it down but it doesn’t say “must” turn

it down. He put a FOIA in there asking actually who it is that makes the

determinations, so that if he’s going to have to get it turned down or has to deal with

the situation that they actually know the person who it is that’s making the

determination. So I’m calling, (--), to find information about who it is, if there is no

hearing over it being denied over an SSN, what is the process for religious

accommodation because that process has not been disclosed here?”

Defendant.: “The process for religious accommodation? There is not a separate
process for that. The law does not give the Department of State any discretion. So

(-y"
Carmichael: (interrupting) “Except the word is may. May is pretty discretionary.”

27. Onor about March 12, 2019, Chris McClean stated that Pakosz’s February 20, 2019

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letter to Defendant Mike Pompeo had been forwarded to the proper office according to Pakosz’s
directive.

28.  Onor about March 12, 2019, Carmichael sent a letter to Chris McLean. She did not
reply to the letter in accordance with Carmichael’s request for information. Carmichael stated:

“In the references (sic) conversation, I pointed out that the denial of the passport
for not providing a SSN on the application is not something that “requires”
disapprovai. Support for that position is adequately addressed in William
Pakosz’s letter requesting the appeal hearing and religious accommodation.

It is improper to deny an appeal hearing. Your office, or some office which needs
to be disclosed, needs to assign a hearing officer who will schedule the hearing
and allow the hearing to take place. The “hearing” once requested is not
something that a hearing board has the discretion to deny. It must occur, and then
let the hearing board or officer make their ruling, and let the accountability fall
where it may.

In our conversation, you said that William Pakosz’s letter to the Secretary of State
was forwarded to the proper office. You did not say which office that was.

Please provide the contact information to the office and person to whom William
Pakosz’s letter was sent. Please provide the name and title of the person in your
Office of Legal Affairs that has the highest supervisory position. Who is the
person in the agency who is supposed to assign a hearing officer when someone
requests an appeal hearing? Again, I have been granted power of attorney by
William Pakosz to speak to your agency in this matter.”

29. Onor about March 13, 2019, Carmichael sent to the Department of State FOIA
Officer, a Freedom Of Information Act (FOIA) to which requested documents showing:

“1. The Freedom Of Information Act Officer or Officers at the Bureau of Consular
Affairs, Passport Services at Sterling, Virginia.

2. The Name, Title and contact phone number of the Officers of the State Department
that serve at the Bureau of Consular Affairs, Passport Services at Sterling, Virginia;
and of the Officers of the Bureau of Consular Affairs, Passport Services, Office of
Legal Affairs; and of the Officers of the Bureau of Consular Affairs, Passport
Services, Office of Legal Affairs, Law Enforcement Liaison.

3. The meaning of department codes shown on the enclosure “CA/PPT/S/L JNS59”. I
can deduce that CA means Consular Affairs; Particularly, I need to see a document
that would show what the “JN59” code means, or who JN59 is, what is the person’s
name, title and phone contact number.

4. The Title of and office of Chris McLean who works at that bureau cited herein and
that can be found at phone number (202) 485-6400”

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30. Defendant’s FOIA Officer did not respond to Carmichael’s FOIA of March 13, 2019.

31. May 9, 2019, on behalf of himself and the American Christian Liberty Society,
Carmichael sent letters to the Congresspersons Honorable Elaine Luria, Honorable Mark
Warner, Honorable Tim Caine, to the Vice President, and to the President saying:

“Many in our Christian Fellowship are being denied original passports or renewed
passports unless we violate our Christian religious practices. The passport processing
service in Sterling, Virginia has granted some of our applications for passports on the
basis of our request for religious accommodation; and have denied some applications
saying that they are not authorized to honor requests for religious accommodation. One
officer, Chris McLean, told me on the phone today that our denied applications are not
allowed an appeal hearing and that there is no appeal process for reasons of religion. She
said there is an accommodation for some people for technical reasons, but no
accommodation for religion. Her statement is squarely contrary to your Executive Order
13798 and the Attorney General’s “MEMORANDUM FOR ALL EXECUTIVE
DEPARTMENTS AND AGENCIES, Federal Law Protections for Religious Liberties.”
Substantiating documentation is available upon your request.

Please provide access to the Religious Liberty Task Force so that we can find relief to the
substantial burden being placed upon us.”

32. On or about June 22, 2019, Carmichael received a letter from the White House stating
that they sent his correspondence to the appropriate Federal agency, without saying what agency
to which they referred his correspondence.

33. On or about June 24, 2019, Carmichael received express delivery by United Parcel
Service, from JN59, DOS-CA/PPT/HQ, 600 19TH STREET, N.W., WASHINGTON DC
20006, tracking number 1ZX3370W3694466644. In the envelope was a letter from the United
States Department of State, Washington, D.C. 20520, dated JUN 2 0 2019 to me at Carmichael’s
home. The letter stated:

“The Department of State has revoked U.S. Passport number 573308010, issued
to you in error on January 30, 2018. This action is taken in accordance with 22
C.F.R. § 51.62 (a)(2), which provides that a U.S. passport may be revoked when it

has been determined that the passport was obtained illegally, fraudulently or
erroneously. The regulations cited in this letter may be found at

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http://www.ecfr.gov.

Department records show that you submitted an application for a U.S. passport by
mail in May 2018, without listing a social security number (SSN) on the
application. You also submitted a statement about why you would not provide
your SSN.

Consistent with 22 U.S.C. 2714a and 22 C.F.R. 51.60(f) the Department requires
that passport applicants provide their SSN on their application, if they have been
issued one. For applicants who were never issued an SSN, then the Department
requires a declaration under penalty of perjury to that effect. Failure to provide
the SSN, or “willfully, intentionally, negligently, or recklessly” providing an
incorrect or invalid SSN, or failing to provide an appropriate declaration, will
result in the denial of the application. As you did not provide your SSN or an
appropriate declaration, U.S. Passport number 5773308010 should not have been
issued and is revoked pursuant to 22 C.F.R. § 51.62 (a)(2).

Under 22 C.F.R. §§51.7 and 51.66, the U.S. passport remains the property of the
U.S. Government and must be surrendered upon demand. Please immediately
return U.S. Passport number 573308010 to the following address: U.S.
Department of State, CA/PPT/S/L/LA, 44132 Mercure Circle, P.O. Box 1227,
Stering, VA 20166-1227.

You may request a hearing under 22 C.F.R. §§ 51.70-51.74. The hearing would
take place in Washington, DC and would only address the basis upon which the
Department revoked your passport. If you choose to request a hearing you must
submit your request in writing by mail to the address above within sixty (60) days
from receipt of this letter. The revocation is final and is not stayed by a request
for a hearing.

Because the passport was issued based on our error, you may reapply for a
passport without paying additional fees by submitting a new complete Form DS-
82, U.S. Passport Renewal Application that includes your SSN within 90 days to:

National Passport Center
Attn: Jason Galvin

44231 Mercure Circle
P.O. Box 1108

Sterling, VA 20166-1108

If you do not submit this application within 90 days, should you wish to obtain a
passport, you will need to re-apply by properly submitting a new passport
application along with all required documents and paying all application fees,

following the instructions found at http:travel.state.gov.

Sincerely,

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Bureau of Consular Affairs
Passport Service

Office of Legal Affairs and
Law Enforcement Liaison”

34. Onor about July 2, 2019, Carmichael received a letter dated June 25, 2019, post
marked June 26, 2019, from the Defendant, CA/PPT/S/L ST12, stating:

Thank you for contacting The White House regarding your concerns surrounding
the U.S. passport application process. This response assumes that your concerns
surround the social security number requirement on U.S. passport applications.
Your inquiry was forwarded to this office for response.

Pursuant to 22 U.S.C. 2714a, passport applicants must provide their social
security number (SSN) on their application, if they have been issued one. Failure
to provide the SSN, or “willfully, intentionally, negligently, or recklessly”
providing an incorrect or invalid SSN will result in the denial of the application.
See 22 C.F.R. 51.60 (f). Pursuant to 22 C.F.R. 51.70, a hearing is not provided
for applications denied or passports revoked for failure to provide a social security
number. However, if the applicant does not have a social security number and has
never been issued one, they cannot provide one on their application. However, in
such an instance they are required to provide a declaration signed under penalty of
perjury explaining the reasons. You may also see the FAQs found at

https://travel state.gov/content/travel/en/passports
/apply-renew-passport/faqs.html#ssn for additional information.

35. The Defendant Agent’s June 25, 2019, cited above was not signed but merely cited,
“Office of Legal Affairs and Law Enforcement Liaison, Office of Passport Services, Bureau of
Consular Affairs.

36. Among the letters Carmichael had been shown by the members of his family and
others in the Plaintiff's Christian Fellowship of the A.C.L.S., they were shown the affidavit that
the Defendant, in particular one in the Sterling, Virginia office, wants them to sign in order to get
a passport without providing a SSN. Though in their June 25, 2019, statement they said that a

declaration “explaining the reasons” was sufficient to obtain an application without a SSN; their

practice is to exclude religious reasons and only allow one ‘technical’ reason. The

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Defendant, particularly Christine L. McClean, requires an affidavit that declares that the Social
Security Administration (hereinafter SSA) has never “issued” such a number associated with the
applicant. In each of the Plaintiff's case, the situation is ambiguous. Each has sent a letter to the
Commissioner of SSA on October 1, 1996 or some other office relating to the matter, to void
application that might have been done on their behalf or those of their households. In
Carmichael’s ietter, he explained that the SSN agency associated his name with their records due
to direct and extrinsic fraud, and that he was prohibited by religion from identifying with a SSN.
The other Plaintiffs sent similar letters. The Commissioner did not send a response letter nor did
the Commissioner refute Carmichael or the other Plaintiff's claim of being disassociated from
the SSN.

37. The Plaintiffs cannot sign an “affidavit” saying that ‘they’ have never been associated
with a SSN. They have never been able to get the SSA to officially suppress their records for
their name like the SSA does for other Christian sects like the Amish. The Plaintiffs cannot, in
good conscience, sign an affidavit about a third person about whose records they cannot have
first-hand knowledge. They understand the command of religion “thou shalt not bear false
witness” applies to testimony about which one is not a witness.

38. The Defendant Agent’s June 20, and June 25, 2019, letters reiterated the circular
reasoning that Carmichael, and the Plaintiffs, must continue to apply for a passport, that there
will be no appeal hearing, and that the matter of religion and the laws, Executive Order and other
things protecting religious are wantonly disassociated from their clear requests for
accommodation of religion. The Defendants showed that there is an accommodation for secular
technical reasons, but the particular agent deciding upon the matter in this instance is hostile

toward religion. So hostile, that (probably she) retroactively and sua sponte usurped the higher

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authority of the Secretaries of State Secretary Rice and Tillerson who applied the
accommodation in 2007 and 2008 for the Plaintiffs and in 2018 for Carmichael in a manner that
upholds the law protecting religion.

39. The Defendant’s Agent excluded the matter of religion in each of her official letters.
Those acts of the Defendant are direct and extrinsic fraud.

40. The fraudulent supposed-cancellation of Carmichael’s passport appears to be
retaliation or retribution for his administrative actions to help Pakosz and others in their Christian
Fellowship, to secure the renewal of his or their passports obtained by religious accommodation.

Other Facts Particular to Plaintiff Lawrence Donald Lewis

41. lLapplied for a passport, to be issued by the Defendant, in the year 2008. I had to
make a request for religious accommodation in order to have the passport issued. On the basis of
Christian religion, I could not provide a Social Security Number (hereinafter “SSN”). I
explained the duties of my religion in a letter enclosed with the passport application. The
Defendant provided a religious accommodation for my request and issued to me a passport on
May 02, 2008, Passport Number 445066501, notwithstanding that I did not identify with a SSN.

42. April 3, 2019, I, Plaintiff Lewis, submitted my Passport Renewal Application, my
then current passport, a photograph of me suitable for the passport, and a payment of $110.00 for
the required renewal fee. Included with my application was an express request for religious
accommodation to get relief from the form’s request for me to identify with a SSN. I addressed
my letter to “The Honorable Mike Pompeo, Secretary of State, United States Department of
State, Via: National Passport Processing Center, P.O. Box 90155, Philadelphia, Pennsylvania
19190-0155.”

43. Inmy letter explaining my request for religion accommodation, I asked for the

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Defendant to apply “the Religious Freedom Restoration Act, 42 USC §2000bb, et seq.; and the
self-executing First Amendment, whether or not there is a statutory requirement to obtain or
identify with a SSN for a passport of (sic) for any other reason.” I also cited other ordinances:

“Thank you for implementing and applying Executive Order 13798 and its
“MEMORANDUM FOR ALL EXECUTIVE DEPARTMENTS AND
AGENCIES titled, “Federal Law Protections of Religious Liberties.” Thank you
also for honoring 22 USC Section 2721. (Which states, in pertinent part:

22 USC §2721, Impermissible basis for denial of passports.

A passport may not be denied issuance, revoked, restricted, or otherwise
limited because of any speech, activity, belief, affiliation, or membership,
within or outside the United States, which, if held or conducted within
the United States, would be protected by the first amendment to the
Constitution of the United States.”

(Aug 1, 1956, ch. 841, title I, §49, as added Pub. L. 102-138, title I, §113, Oct
28, 1991, 105 Stat. 655.)””

 

44. Inmy request for accommodation, I pointed out that I am 69 years old, I would be
eligible for Social Security but do not collect it due to my obligations of religion.

45. Isigned my request for religious accommodation under the Penalty of Perjury.

46. Ireceived a reply from the Defendant, from his Sterling, Virginia, office. The letter
was dated May 1, 2019 and referenced their tracking number 297428458. The letter stated:

“Dear Mr. Lewis:

Thank you for your recent passport application.
However, your Social Security Number was not provided on your passport application. Please
provide your Social Security Number by clearly writing it in the spaces provided below.
If you have never been issued a Social Security Number, please submit a signed statement under
penalty of perjury to that effect or used the following:
To whom it may concern,
I, (print full name) declare under penalty of
perjury under the laws of the United States of America that the following is true and correct: I
have never been issued a Social Security Number by the Social Security Administration.
Executed on:

 

 

 

(DATE)
Signature:

 

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(Sign using full name as indicated on the passport application)”

47, The Defendant’s May 1, 2019 letter stated that I had ninety days to comply. At the
ninety-day mark, July 29, 2019, I responded to the Defendant’s letter. I sent again a copy of my
original letter pointing out my request for religious accommodation. I pointed out that the
Defendant either had not read or was ignoring my request for religious accommodation. I
reproved the Defendant for ignoring and violating law protecting religion. I also stated:

““A federal lawsuit will be hugely costly of time and money. Please avoid this by
READING and correctly APPLYING my “Request for Religious
Accommodation,” originally allowing issuance of the original Passport
approximately 11 years ago WITHOUT SSN for duty of religion. I am sure is
(sic) in the file you currently have.”

48. I signed my July 29, 2019 letter “Under penalty of perjury, under the laws of the
United States, the foregoing statement and enclosures I hereby declare to be true.”

49. August 29, 2019, the Defendant responded to my July 29, 2019 letter. There the
Defendant stated:

“Thank you for your passport request. Your passport application was submitted
on 4/3/2019. You submitted a passport application that did not provide your
correct Social Security Number.

Under the 22 U.S.C 2714a, a passport application may be denied if the applicant
does not provide her/his Social Security Number or willfully, intentionally,
negligently, or recklessly provides an incorrect or invalid Social Security Number.
On 5/1/2019, we requested that you provide your Social Security Number. You
either did not provide your Social Security Number or provided an incorrect or
invalid Social Security Number. Therefore, a U.S. passport cannot be issued to
you at this time, and your application is denied.

Sincerely,

Customer Service Department

Enclosure(s):
Passport # 445066501”

50. The Defendant committed acts of direct and extrinsic fraud in his August 29, 2019

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denial letter. The Defendant excluded the facts relating to the express request for religious
accommodation. The Defendant included a citing of “22 U.S.C 2714a,” yet excluded his duty
under, and the citing of, 22 U.S.C. § 2721. He falsely, without having any evidence to support it,
stated or inferred that I “willfully, intentionally, negligently, or recklessly provided an incorrect
or invalid Social Security Number.”

51. Like the Carmichael complaint for which I join, the Defendant, or his agent,
communicated that the matter of religion and the laws, Executive Order and other things
protecting religious freedom were wantonly disassociated from my clear request for
accommodation of my religion. It showed that there is an accommodation for secular technical
reasons, but the particular agent deciding upon the matter in this instance is hostile toward
religion. So hostile, that (probably she) usurped the higher authority of the law that Secretary of
State Rice applied the accommodation in 2008.

Other Facts Particular to Plaintiff William Mitchell Pakosz

52. I, William Mitchell Pakosz, had presented facts that established requisite elements of
the bona fides of my religion and the Defendant in no way challenged those, tacitly admitting to
their fidelity. Without any facts contradicting me, and without any law to support his and his
agency’s acts (5 USC §701 — definition of agency), the Defendant and his agency do not have the
discretion in law to deny my applications for passport renewal under the facts, circumstances and
law put before him, whereby they place a substantial burden upon my religion.

53. December 2007, I was issued a passport from the Department of State without my
having to identify with a social security number, notwithstanding that the passport application
form requested that I identify with such a number. My application included a request for

religious accommodation with a letter to Secretary of State Condoleezza Rice explaining my

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bona fides of my religious beliefs and practices that prohibit me from identifying with a SSN.

54. At the time that my religion was accommodated and my passport issued without my
identifying with a SSN in 2007, the laws of the United States that give permission for the
Defendant to ask for such a number are either exactly the same or are substantially the same as
they are today. Recently, the Defendant has been unlawfully denying my requests for renewal of
my passport contrary to the prior practice.

55. Onor about August 16, 2017, I submitted my application to renew my passport that
was originally issued December 11, 2007. In keeping with the renewal application instructions, I
submitted my passport with the renewal application. My application for passport renewal was
sent with a request for religious accommodation and a note in the SSN block, “Religious
Prohibition 42 USC 2000bb.” I sent a copy of that correspondence to the Defendant as an
exhibit 1 in my letter to him on February 20, 2019.

56. Onor about, September 1, 2017, the Defendant acting through his Passport
Processing Center in Sterling Virginia sent a letter requesting me to provide a Social Security
Number or sign an affidavit regarding the records of the Social Security Administration. I
understand that I cannot rightfully execute an affidavit about somebody else’s records of which I
have no first hand knowledge. I understand that I have not cognitively applied for a SSN; that
any association of my name with any sort of SSA record is or would be a matter of identity theft
from direct or extrinsic fraud. The form sent by the Defendant had no OMB Number. The
United States Code of Federal Regulations explains at 5 CFR §1320 explains that I have no duty
to answer such a query from the Defendant when there is no valid OMB number on the query
form. I sent a copy of that correspondence to the Defendant as an exhibit 2 in my letter to him

on February 20, 2019.

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57. On or about, September 8, 2017, I sent a letter to the Defendant explaining that I was
requesting a religious accommodation, that it is necessary, and that it had been accommodated by
the State Department previously. I sent a copy of that correspondence to the Defendant as an
exhibit 3 in my letter to him on February 20, 2019.

58. On or about September 22, 2017, the Defendant through the Passport Processing
Center in Sterling Virginia sent a letter explaining that my passport application “may” be denied,
but not that it “must” be denied if I “willfully, intentionally, negligently, or recklessly” provides
an incorrect or invalid social security number. None of those things applied to my application. I
sent a copy of that correspondence to the Defendant as an exhibit 4 in my letter to him on
February 20, 2019.

59. On or about October 3, 2017, I reiterated my request for a passport renewal to
Secretary of State Rex Tillerson. I enclosed with that request to renew my passport my recent
passport, the September 22, 2017 denial letter, and the letter I had sent to Secretary of State
Condoleezza Rice the first time my passport was approved with a religious accommodation. I
sent a copy of that correspondence to the Defendant as an exhibit 5 in my letter to him on
February 20, 2019.

60. On or about November 10, 2017, I reiterated my request for my passport renewal in a
letter to Secretary of State Rex Tillerson. I sent a copy of that correspondence to the Defendant
as an exhibit 6 in my letter to him on February 20, 2019.

61. Onor about January 12, 2018, I called the National Passport Center phone number,
877-487-2778 and spoke to David. I explained my difficulty in obtaining a passport under 42
USC 2000 bb and he recommended to wait for a phone call from the passport center. Geno

called me and gave me instructions to (1) reapply for a passport at the National Passport Center

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and (2) attempt to get the expired passport back from Secretary of State Rex Tillerson’s office
that I sent on the October 3, 2017.

62. Onor about January 13, 2018, I supplied another passport application to the
Defendant as directed by Geno from the National Passport Processing Center to renew my
passport that was originally issued #434370467. I paid the fee again. Nobody ever told me
about a process for appeal, only to reapply and pay again. I sent a copy of that correspondence
to the Defendant as an exhibit 7 in my letter to him on February 20, 2019.

63. Onor about January 13, 2018, I wrote a letter to Secretary of State Rex Tillerson’s
office asking them to return the original passport that I had mailed to him with my request for
religious accommodation. I sent a copy of that correspondence to the Defendant as an exhibit 8
in my letter to him on February 20, 2019.

64. On or about February 2, 2018, I contacted the passport office again at 202-485-6373
and spoke to Cheryl Muzzo. I sent with my letter, DS11 passport renewal form and DS64 lost or
stolen passport form because I was told to do so. I also reiterated my request for religious
accommodation. I sent a copy of that correspondence to the Defendant as an exhibit 9 in my
letter to him on February 20, 2019.

65. Onor about February 12, 2018, I was contacted by the Defendant through a Susan
from the U.S. Department of State National Passport Center who told me that I needed to send in
a Social Security Statement Form.

66. Onor about February 14, 2018, in reply to Susan’s request of February 12, 2018, I
sent a letter to the Defendant via the National Passport Center reiterating my request for religious
accommodation and referencing the two docket numbers that were assigned to my case,

286329363 and 284901802. I included the affidavit form that they requested, expressing

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specifically my convictions of religion. I sent a copy of that correspondence to the Defendant as
an exhibit 10 in my letter to him on February 20, 2019.

67. Onor about March 22, 2018, I sent a follow-up letter and a reiteration of my request
for religious accommodation. I sent a copy of that correspondence to the Defendant as an exhibit
11 in my letter to him on or about February 20, 2019.

68. Onor about April 2, 2018, the Defendant through the National Passport Center,
Sterling, Virginia, sent an unsigned letter to me from the “Customer Service Department” stating
that I had submitted a passport application on January 15, 2018. “You submitted a passport
application that did not provide your correct social security number.” The letter then stated that
they request “that you provide your Social Security Number.” Notwithstanding my request for
religious accommodation, the letter from the Customer Service Department stated, “Therefore, a
U.S. passport cannot be issued to you and your passport is denied.” I had no way of knowing
who it was at the passport center in Sterling, Virginia that is violating the law. The statute cited
as an authority only says that a passport “may” be denied under circumstances that do not apply
to me or my situation. I was not told of any appeal process. I sent a copy of that correspondence
to the Defendant as an exhibit 12 in my letter to him on or about February 20, 2019.

69. On or about April 12, 2018, I replied to the Defendant’s denial letter pointing out that
Thad also sent other information to verify my identity. I sent information that explains the SSN
offence against religion in a document called “The Mark of The Beast... It Is Here, Now”. I sent
a copy of that correspondence to the Defendant as an exhibit 13 in my letter to him on or about
February 20, 2019.

70. Onor about April 12, 2018, I submitted an information letter to Senator Duckworth

asking her to do anything that he could to help me.

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71.  Onor about May 8, 2018, I wrote directly to the Secretary of State, Mike Pompeo
(Defendant), with a copy of my application for passport that I sent on January 15, 2018 with a
copy of my letter to Senator Duckworth and a copy of a U.S. District court document where my
religious accommodation was upheld for the sake of voting. I sent a copy of that correspondence
to the Defendant as an exhibit 14 in my letter to him on or about February 20, 2019.

72. Onor about June 26, 2018, I wrote a letter to Senator Dick Durbin asking him to
intervene. I sent a copy of that correspondence to the Defendant as an exhibit 15 in my letter to
him on or about February 20, 2019.

73. Onor about August 30, 2018, I wrote to the Defendant via the National Passport
Center in Sterling, Virginia, pointing out that I had responded to their denial letter in a timely
fashion. I requested the name of the Authorizing Officer (As defined in 22CFR§51.1) who is
approving or disapproving my passport. I requested information that ought to be provided
according to the Freedom Of Information Act. Customer Service Department is not the
Authorizing Officer. I also requested the means of appeal. I sent a copy of that correspondence
to the Defendant as an exhibit 16 in my letter to him on or about February 20, 2019.

74. Onor about October 2, 2018, the Defendant via the National Passport Center in
Portsmouth, New Hampshire sent a letter saying they are returning documents to me without
saying which they were returning, for what reason. I sent a copy of that correspondence to the
Defendant as an exhibit 17 in my letter to him on or about February 20, 2019.

75. Onor about November 16, 2018, I wrote to the Defendant via that same National
Passport Center in Portsmouth, New Hampshire and I requested an Administrative Hearing
under Section 51.70, a Written Determination signed by the Administrative Officer or his

Delegate covering 42 USC 2000bb and Executive Order 13798, and answer to my Freedom Of

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Information Request. I sent a copy of that correspondence to the Defendant as an exhibit 18 in
my letter to him on or about February 20, 2019.

76. Onor about November 20, 2018, I sent a letter again to the Secretary of State Mike
Pompeo asking for a religious accommodation request regarding my passport application. I sent
a copy of that correspondence to the Defendant as an exhibit 19 in my letter to him on or about
February 20, 2019.

77. Onor about December 4, 2018, the Defendant via the National Passport Center in
Sterling, Virginia responded and said that they sent my request to the Bureau of Consular
Affairs, Passport Services, Office of Legal Affairs. I sent a copy of that correspondence to the
Defendant as an exhibit 20 in my letter to him on or about February 20, 2019.

78. Onor about December 12, 2018, I sent a letter to the Defendant via the office of legal
affairs reminding them that I was seeking a religious accommodation. I sent a copy of that
correspondence to the Defendant as an exhibit 21 in my letter to him on or about February 20,
2019.

79. Onor about February 20, 2019, I sent a letter with twenty two exhibits that was
intended to be my last attempt at administrative redress to the Defendant. I sent a letter
addressed directly to him, Mike Pompeo via his office in Sterling, Virginia via the Legal Affairs
office where provided and copy to that Legal Affairs office and directed them to send my letter
to Mike Pompeo where I said:

““My application for passport renewal was sent to you with a request for religious
accommodation (See Enclosures 1 -21 associated with the enclosed timeline). The passport
application form directed me to identify myself with a Social Security account number
(SSN), which I cannot do for reasons of religion. I have sent many timely correspondences
to your officers regarding my applications to renew my passport, yet the passport offices
have not fulfilled their legal duties. Your denial was based on a form that I am not required

to answer since it has been sent to at least ten people and it has no OMB number (5 CFR
1320). There is no actual denial of my request since the purported “denial” was done without

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authority in law and without fulfilling the specifications cited by the CFR, and my protests
have been timely, my passport renewal request is not expired.”

80. As well, my February 20, 2019 letter to the Defendant exclaimed that:

a. My passport renewal application gave me a right to an administrative hearing, that my
application ought to be approved, or otherwise for him to cite the authority that permitted
him from denying it on the basis of religious accommodation.”

b. I cited his legal ministerial duty to approve my application showing that I the laws
which would legitimately deny a passport did not apply to me.

c. I pointed out that the purpose of Congress giving authority to the Secretary of State to
deny a passport application for the applicant refusing to provide a SSN is clearly_not stated
for the purpose of forcing someone to make the SSN an element of their identity.

d. I stated:

“Tn my case, I am not a person who qualifies for denial under 22 UCS
1714a(f)(1)(A)(i) or (ii). I placed the words, “None, Religious Prohibition” in
the SSN blocks to indicate my need for religious accommodation. I am duty
bound by religion to not participate in identifying with a SSN. Secondly, the
Social Security Administration has power over its records, not over me. They
issue numbers to account records. An SSN might only be contemplated as mine
if I had cognitively applied for such a number. That is not the case. There
cannot be a “correct” SSN related tome. The Social Security Administration
Commissioner said the “correct” SSN for someone in my position is “Religious
Objector.”” (Enclosure 22 of my February 20, 2019 letter)

e. I cited the reasons and provisions for a “good cause” and cited Bowen v. Roy, 476 US
693, 708 (1986):

“If a state creates such a mechanism, its refusal to extend an exemption to an
instance of religious hardship suggests a discriminatory intent. Thus, as was urged
in Thomas, to consider a religiously motivated resignation to be "without good cause"
tends to exhibit hostility, not neutrality, towards religion. See Brief for Petitioner 15,
and Brief for American Jewish Congress as Amicus Curiae 11, in Thomas v. Review
Board of Indiana Employment Security Div., O. T. 1979, No. 79-952. See

also Sherbert, supra, at 401-402, n. 4; United States v. Lee, 455 U. S., at 264, n. 3
(STEVENS, J., concurring in judgment)” [Emphasis added]

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f. I cited Executive Orders 9397 and 13478 that say the Defendant “may” not “must” use
a SSN as a matter of convenience not a compelling mandate.

g. I cited and explained the application of the Religious Freedom Restoration Act,
explaining that I had sincere and bona fide religious beliefs and practices against which his
SSN demand placed a substantial burden.

h. I cited Executive Order 13798 and the implementing “MEMORANDUM FOR ALL
EXECUTIVE DEPARTMENTS AND AGENCIES, Federal Law Protections for Religious
Liberties” explaining that the Defendant has a duty to provide a mechanism for
accommodation of religion.

i. I quoted the Memorandum — Protections for Religious Liberties where it said:

“It shall be the policy of the executive branch to vigorously enforce Federal law’s
robust protections for religious freedom. ...Federal law protects the freedom of

Americans and their organizations to exercise religion and participate fully in civic life

without undue interference by the Federal Government. The executive branch will
honor and enforce those protections.” (Emphasis added)

 

“ Religious liberty is not merely a right to personal religious beliefs or even to
worship in a sacred place. It also encompasses religious observance and practice.
Except in the narrowest circumstances, no one should be forced to choose between living
out his or her faith and complying with the law. Therefore, to the greatest extent
practicable and permitted by law, religious observance and practice should be reasonably
accommodated in all government activity, including employment, contracting, and
programming.”

“Constitutional protections for religious liberty are not conditioned upon the willingness
of a religious person or organization to remain separate from civil society.”

“RFRA applies to all actions by federal administrative agencies, including rulemaking,
adjudication or other enforcement actions, and grant or contract distribution and
administration.”

“In general, a government action that bans an aspect of an adherent's religious observance
or practice, compels an act inconsistent with that observance or practice, or substantially
pressures the adherent to modify such observance or practice, will qualify as a substantial
burden on the exercise of religion.” (emphasis added)

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81.

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“That analysis requires the government to show that it cannot accommodate the religious
adherent while achieving its interest through a viable alternative, which may include, in
certain circumstances, expenditure of additional funds, modification of existing
exemptions, or creation of a new program.” (emphasis added)

“In formulating rules, regulations, and policies, administrative agencies should also
proactively consider potential burdens on the exercise of religion and possible
accommodations of those burdens. Agencies should consider designating an officer to
review proposed rules with religious accommodation in mind or developing some other
process to do so....”

“The depth and breadth of constitutional and statutory protections for religious
observance and practice in America confirm the enduring importance of religious
freedom to the United States. They also provide clear guidance for all those charged with
enforcing federal law: The free exercise of religion is not limited to a right to hold
personal religious beliefs or even to worship in a sacred place. It encompasses all aspects
of religious observance and practice. To the greatest extent practicable and permitted
by law, such religious observance and practice should be reasonably accommodated
in all government activity, including employment, contracting, and programming.
See Zorach v. Clauson, 343 U.S. 306, 314 (1952) ("[Government] follows the best of our
traditions ... [when it] respects the religious nature of our people and accommodates the
public service to their spiritual needs.").”” (emphasis added)

j. Isaid in summary and reiterated my request:
“Wherefore, I can find no authority in law for the Secretary of State to refuse my
passport renewal application. Therefore, I respectfully request that my passport renewal

application be immediately approved and that the renewed passport be sent to me.”

On or about March 12, 2019, by way of my agent, I contacted the Defendant via his

offices in Sterling, Virginia. My agent spoke to the Defendant’s agent Chris McLean, in the

office of Legal Affairs, Law Enforcement Liaison that was referenced on the DS-11 and DS-82

forms and by correspondence I received from the Defendant directing me to that office to obtain

access to an appeal hearing.

82. When my agent stated that I was told in a letter that I could not have an appeal

hearing because I had not given a SSN, and that Defendant had not disclosed an alternative to the

appeal hearing to obtain a religious accommodation, Chris McLean, stated that there was no

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other process than the appeal hearing for accommodation of religion and that the law did not give
the Defendant any discretion regarding religion. My agent rebutted her. The conversation is
cited at Paragraph 26. above.

83. On or about March 12, 2019, Chris McLean stated to my agent that my February 20,
2019 letter to Defendant Mike Pompeo had been forwarded to the proper office according to my
directive.

84. On or about March 20, 2019, the Defendant sent me a list of things they would need
in order to fulfill my Freedom Of Information Act request. They said I needed to send a copy of
my valid passport, or other identification which I do not possess in order for them to fulfill the
FOIA request.

85. Onor about April 8, 2019, I wrote a letter to Christine L. McLean, Branch Director,
Bureau of Consular Affairs, Passport Services, Office of Legal Affairs, 44132 Mercure Circle,
P.O. Box 1227, Sterling, Virginia 20166-1227. I reiterated my request for passport record
information. I sent a $50 postal money order. I pointed out that the request for information form
did not fulfill the regulatory requirements of a valid “OMB” number resulting in a form which
has not ‘mandate’ authority for the request of private information. None-the-less, I sent an
affidavit with a current photo the fulfills passport specifications. I have not received a response.

86. On or about May 7, 2019, I wrote a letter to the Vice-President of the United States, telling
him of my previous religious accommodation and of the current difficulties I am having with the
Defendant imposing upon my religion. I asked him to provide information giving me access to
the Religious Liberty Task Force. I did not receive a reply.

87. Onor about June 14, 2019, I wrote a letter to the Christine L. McLean, Branch

Director, U.S. Department of State, CA/PPT/S/L, 44132 Mercure Circle, P.O. Box 1227,

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Sterling, Virginia 20166-1227. I explained to her the grave injury she has where she has
damaged my soul where I am denied visits with my family in foreign lands to commemorate the
evils our family has suffered through persecution by the Nazis.

88. The Defendant has not told me, nor does the Defendant believe, that any of the
information I have given is false and I am not under any threat of being prosecuted under 18
USC §§1001, 1542, 1621. The U.S. passport/renewal applications state:

“WARNING: False statements made knowingly and willfully in passport applications,
including affidavits or other documents submitted to support this application, are
punishable by fine and/or imprisonment under U.S. law including the provisions of 18
U.S.C. 1001, 18 U.S.C. 1542, and/or 18 U.S.C. 1621.”

89. I provided “reasonable cause” information to the Defendant, and I did not commit
“willful” neglect but rather conveyed the “reasonable cause.”

90. Iam not one of those persons for which the Defendant needs to scrutinize for tax or
debt collection purposes, or for malevolent conduct, or for any other disqualifier for a passport. I
gave a declaration to the Defendant regarding that.

Other Facts Related to All Plaintiffs

91. Each Plaintiff has a need and want to be able leave and return to the United States,
and travel to other countries while carrying a valid passport. They have no other documents for
travel or that will suffice for the purposes of passport use.

92. The Social Security Administration, in an April 11, 2003 letter from Charles A.
Mullen, Social Security Administration, Associate Commissioner, Office of Public Inquiries,
made the official statement that:

“The Social Security Act does not require a person to have a Social Security
number to live and work in the United States, nor does it require a Social Security

number simply for the purpose of having one.”

93. The statutes controlling passports, at 22 USC §2721 says:

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“A passport may not be denied issuance, revoked, restricted, or otherwise limited
because of any speech, activity, belief, affiliation, or membership, within or
outside the United States, which, if held or conducted within the United States,
would be protected by the first amendment to the Constitution of the United
States.” (Emphasis added)

94. The government has no compelling interest in associating the Plaintiffs with a SSN,
especially for the purposes for which the SSN is requested relating to the passport.

95. The U.S. Supreme Court indicated in Bowen v. Roy, a SSN religious objection case
that under the circumstances of the Plaintiffs’ case, the accommodation that they requested was
improperly denied and Carmichael’s was unlawfully supposedly spontaneously cancelled:

“Tf a state creates such a mechanism, its refusal to extend an exemption to an
instance of religious hardship suggests a discriminatory intent. Thus, as was
urged in Thomas, to consider a religiously motivated resignation to be "without good
cause" tends to exhibit hostility, not neutrality, towards religion. See Brief for
Petitioner 15, and Brief for American Jewish Congress as Amicus Curiae 11,

in Thomas v. Review Board of Indiana Employment Security Div., O. T. 1979, No.
79-952. See also Sherbert, supra, at 401-402, n. 4; United States v. Lee, 455 U.S., at
264, n. 3 (STEVENS, J., concurring in judgment)” [Emphasis added] Bowen v. Roy,
476 U.S. 694, 708 (1986)

96. The U.S. passport/renewal forms state:

“You do not have to supply this information unless this collection displays a
currently valid control number. If you have comments on the accuracy of this burden
estimate and/or recommendations for reducing it, please send them to: U.S.
Department of State, Bureau of Consular Affairs, Passport Services, Office of Legal
Affairs and Law Enforcement Liaison, 44132 Mercure Cir, P.O. Box 1227, Sterling,
Virginia 20166-1227”

97. The Form sent by the Defendant, demanding information, did not display a currently
valid control number.
98. The U.S. passport/renewal applications state:
“WARNING: False statements made knowingly and willfully in passport applications,
including affidavits or other documents submitted to support this application, are

punishable by fine and/or imprisonment under U.S. law including the provisions of 18
U.S.C. 1001, 18 U.S.C. 1542, and/or 18 U.S.C. 1621.”

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99. Nowhere in the “Proof of Identity” section of the U.S. passport/renewal application
forms is the SSN stated to be required though it says later that the SSN is used to verify identity.
100. It is the Tax Law section of the U.S. passport U.S. passport/renewal application

forms that state the reason and authority that allows the State Department to ask for a Social

Security Number is:

“Section 6039E of the Internal Revenue Code (26 U.S.C. 6039E) and 22 U.S.C
2714a(f) require you to provide your Social Security number (SSN), if you have one,
when you apply for or renew a U.S. passport. If you have never been issued a SSN,
you must enter zeros in box #5 of this form. If you are residing abroad, you must also
provide the name of the foreign country in which you are residing. The U.S.
Department of State must provide your SSN and foreign residence information to the
U.S. Department of the Treasury. If you fail to provide the information, your
application may be denied and you are subject to a $500 penalty enforced by the IRS.
All questions on this matter should be referred to the nearest IRS office.”

101. Thus says, Section 6039E of the Internal Revenue Code (26 USC 6039E):

“(a) General rule Notwithstanding any other provision of law, any individual who—
(1) applies for a United States passport (or a renewal thereof), or shall include with
any such application a statement which includes the information described in
subsection (b).

(b)Information to be provided Information required under subsection (a) shall include—
(1) the taxpayer’s TIN (if any), (4) such other information as the Secretary may
prescribe.

(c)Penalty

Any individual failing to provide a statement required under subsection (a) shall be

subject to a penalty equal to $500 for each such failure, unless it is shown that such

failure is due to reasonable cause and not to willful neglect.”

102. The enforcement of 26 USC 6039E is not the denial of a passport, but a $500 fine,
“unless it is shown that such failure is due to reasonable cause and not to willful neglect.” The
Plaintiffs provided “reasonable cause” information to the Defendant, and did not commit
“willful” neglect but rather conveyed the “reasonable cause.”

103. The Use of Social Security Number section on the U.S. passport/renewal

application forms state:

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“Your Social Security number will be provided to U.S. Department of Treasury, used
in connection with debt collection and checked against lists of persons ineligible or
potentially ineligible to receive a U.S. passport, among other authorized uses.

104. The Privacy Act Statement section on the U.S. passport/renewal application forms
state:

“AUTHORITIES: Collection of this information is authorized by 22 U.S.C. 211a et
seq.; 8 U.S.C. 1104; 26 U.S.C. 6039E, 22 U.S.C. 2714a(f), Section 236 of the Admiral
James W. Nance and Meg Donovan Foreign Relations Authorization Act, Fiscal Years
2000 and 2001; Executive Order 11295 (August 5, 1966); and 22 C.F.R. parts 50 and
51.

PURPOSE: We are requesting this information in order to determine your eligibility
to be issued a U.S. passport. Your Social Security number is used to verify your

identity.

ROUTINE USES: This information may be disclosed to another domestic government
agency, a private contractor, a foreign government agency, or to a private person or
private employer in accordance with certain approved routine uses. These routine uses
include, but are not limited to, law enforcement activities, employment verification,
fraud prevention, border security, counterterrorism, litigation activities, and activities
that meet the Secretary of State's responsibility to protect U.S. citizens and non-citizen
nationals abroad. More information on the Routine Uses for the system can be found in
System of Records Notices State-05, Overseas Citizen Services Records and State-26,
Passport Records.

DISCLOSURE: Providing information on this form is voluntary. Be advised,
however, that failure to provide the information requested on this form may cause
delays in processing your U.S. passport application and/or could result in the refusal or
denial of your application. Failure to provide your Social Security number may result
in the denial of your application (consistent with 22 U.S.C. 2714a(f)) and may subject
you to a penalty enforced by the Internal Revenue Service, as described in the Federal
Tax Law section of the instructions to this form. Your Social Security number will be
provided to the Department of the Treasury and may be used in connection with debt
collection, among other purposes authorized and generally described in this section.”
(Emphasis of ‘underline’ added)

 

105. The passport renewal application form DS-82 has the same, or substantially the same
statements quoted at the paragraphs above relating to the passport application form DS-11.
106. The Plaintiff's are not those who are subject to the denial of their passport renewal on

the basis of those things listed or referenced on the application form.

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107. The Defendant is hiding or allowing his agents to unlawfully hide the identity of
those who have acted, and are acting, to violate the laws of the United States to the Plaintiffs’
injury and the injury of their religion.

108. The Defendant failed to follow the directives of Executive Order 13798 and its
implementing memorandum for all departments entitled Federal Law Protections For Religious
Liberties. He has also failed to disseminate it to his subordinate actors and train them to apply
E.O. 13798 and its implementing directives.

109. The Defendant and his agents knew and should have known that to cancel
Carmichael’s passport and to deny Plaintiffs’ passport renewals, knowing the lack of SSN was
on the basis of sincere and bona fide religion that is substantially burdened, was clear violation
of the Bill of Rights; 42 USC §2000bb, et seq.; E.O. 13798 and its implementing directives from
the Attorney General; and 22 USC §2721.

110. The Defendant and his agents acted in bad faith to deny Plaintiffs Lewis and Pakosz
passport renewal applications and to spontaneously after-the-fact cancel Carmichael’s approved
religious accommodation request and passport, knowing their previous passport and
Carmichael’s current passport was approved as a matter of religious accommodation while
deliberately and artfully dodging that fact in the Defendant’s correspondence about the matter.

111. It took two or more persons, the named Defendant and other actors of his to conspire
together for some of the unlawful acts and deprivation of the Plaintiffs’ rights cited in this
complaint.

112. The U.S. Passports of the Plaintiffs were arbitrarily, capriciously, in bad faith, in
abuse of discretion, colorably cancelled or their renewals were denied contrary to the facts, law

and national policy in effect when the actions by the Defendant were taken.

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113. On September 28, 2019, Carmichael was scheduled to attend a reunion of the first
ship upon which he served, the USS PAUL F FOSTER, EDD-964, the only Spruance Class
destroyer remaining in service. His lack of a passport excluded him from having identification
suitable for entering the military property of the United States to visit that ship with his
shipmates. He had no suitable identification to travel to California by air on November 15th to
collect his aged and infirmed mother to transfer her to his home in Virginia to lived with him
there permanently. The Defendant’s unlawful interference with this limited opportunity is
gravely egregious to the Plaintiffs’ life, liberty and property rights, and is a great offence to their
very soul.

Amendment Two 41.Plaintiff Carmichael was told by several people, as well as Plaintiffs Lewis
and Pakosz, that their U.S. passports were denied for not providing a SSN, even though the
applicant had explained their religious prohibition against identifying with a SSN. Those people
said that the passport agency sent them the same affidavit form sent to Plaintiffs Pakosz and
Lewis. The passport agency explained that they would have to apply again, but would continue
to be denied a passport unless they identified with a SSN or filled out the affidavit form
swearing, “I (name) declare under the penalty of perjury under the laws of the United States that
the following is true and correct: I have never been issued a Social Security Number by the
Social Security Administration.” Plaintiff Carmichael understood that his reapplying would
manifest the same denial-result and Plaintiffs Lewis, Pakosz, and others who were told to
continue reapplying, only next time provide a SSN or fill in the form which Plaintiff Carmichael
could not file in good conscience. Carmichael understood that he cannot rightly swear to hearsay
information, nor could he in good conscience participate in the violation of 44 U.S.C. §3512, nor

could he swear to something that was a distortion of the matter at hand.

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Amendment Two 42. | Notwithstanding that he made a forthright request for religious
accommodation, Plaintiff Pakosz was told that he must continue to reapply for a passport, with
the anticipation that his next application would be denied so long as he did not identify with a
SSN, or file an affidavit saying , “I (name) declare under the penalty of perjury under the laws of
the United States that the following is true and correct: I have never been issued a Social
Security Number by the Social Security Administration.” Plaintiff Pakosz objections were the
same as those of Carmichael cited in Amendment Two 1.

Amendment Two 93. __ Plaintiff Lewis received a letter from the passport agency,
saying his passport was denied because he did not identify with a SSN or file an affidavit saying,
“I (name) declare under the penalty of perjury under the laws of the United States that the
following is true and correct: I have never been issued a Social Security Number by the Social
Security Administration.” Plaintiff Lewis’s objections were the same as those of Carmichael
cited in Amendment Two 41.

Amendment Two 44. Because we believe that the Social Security Administration
only has power to issue Social Security Account Numbers to their Social Security Account
records; each of us Plaintiffs believe that we can honestly say the phrase, “I have never been
issued a Social Security Number by the Social Security Administration.” Each of us also believe
that we cannot in good faith file an affidavit about somebody else’s activities or records but that
affidavits are only relevant and valid if they are done as a testimony of what is a matter of our
first-hand cognizance and experience rather than what might be based upon hearsay.

Amendment Two 45. _ Each of us Plaintiffs believe that no man has any authority to
issue any thing to us individually against our individual will, especially when the thing issued is

prohibited by the absolute law of the Creator as revealed in the Bible.

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Amendment Two 46. _ Plaintiff Pakosz, in 2018, gave to Plaintiff Carmichael a copy of
every correspondence, and notes from every conversation, that he had with the State Department
regarding his passport applications and denials. Plaintiff Carmichael was aware of the conditions
put upon Pakosz and other people to swear “I have never been issued a Social Security Number
by the Social Security Administration” and of the futility of reapplying to reach the same result.

Amendment Two 97.Notwithstanding the semantics of making a statement saying “I”
have never been issued a SSN where records can only be issued a Social Security Account record
number, all Plaintiffs presume that swearing such a statement might be perceived as a fraud by
some who have a different understanding of the semantics.

Amendment Two 48.Each of the Plaintiffs knows of no way that they are a threat to
national security and have not been told by any person that they are a threat to national security.

Amendment Two 49. The Defendants falsely claim, in their memoranda to the District
Court, that they provided Carmichael due process through a post-revocation hearing. Their June
21, 2019 revocation letter cited where appeals processes are found but misstated that an appeal
was available (Memorandum [Memo.] Attachment 1). The opposite is true under the
circumstances according to the regulations that apply, namely 22 U.S.C. §51.60(f) and
§51.70(b)(2). The Defendants truthfully claimed that such appeal due process is not available
where they stated in correspondence to Carmichael and in correspondence to Pakosz and to
Lewis, of which Carmichael was privy, saying:

“In your letter, you also requested an administrative hearing. Please be advised that you

are not entitled to a hearing under Sections 51.70 through 51.74 of the passport

regulations in Title 22 of the Code of Federal Regulations. A hearing is not provided in

a case of an adverse passport action taken for failure to provide a SSN.” Bureau of

Consular Affairs, Passport Services, Office of Legal Affairs and Law Enforcement

Liaison ltr. to William Pakosz, FEB 26 2019, of which David Alan Carmichael was made
privy contemporaneously. (Memo. Attachment 2) (Emphasis added)

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“However, our regulations don’t provide hearings for no security number for denial.
And there are certainly other legal avenues available outside the administrative hearing
process.” Christine McClean, Bureau of Consular Affairs, Passport Services, Office of
Legal Affairs and Law Enforcement Liaison statement to David Alan Carmichael, March
12, 2019 in phone conversation. (Memo. Attachment 3) (Emphasis added)

“Pursuant to 22 C.F.R. 51.70, a hearing is not provided for applications denied or
passports revoked for failure to provide a social security number.” Bureau of Consular
Affairs, Passport Services, Office of Legal Affairs and Law Enforcement Liaison ltr. to
David Alan Carmichael, June 25, 2019, regarding correspondence forwarded to them by
the White House. (Memo. Attachment 4) (Emphasis added)

Amendment Two 410. Plaintiff Carmichael’s passport was renewed, January 30,
2018, after Carmichael submitted a passport renewal application on January 20, 2018, along with
a request for religious accommodation because he could not identify with a SSN. (Memo.

Attachment 5). The letter requesting religious accommodation text is herebelow:

“David Alan Carmichael
1748 Old Buckroe Road
Hampton, Virginia 23664

January 20, 2018

The Honorable Rex W. Tillerson
Secretary of State

United States Department of State

Via: National Passport Processing Center
P.O. Box 90155

Philadelphia, PA 19190-0155

RE: Passport Application Without SSN For Sincere and Bona Fide Religion

Mr. Secretary,

I have enclosed my current passport (Encl. 1) and my passport renewal application and
photograph (Encl. 2) along with my payment of $110.00 (Encl. 3), and evidence of the
United States recognizing and accommodating my practice of religion (Encl.4).

I came to understand that participation in Social Security and identification with its
number is prohibited in the scriptures of the Holy Bible. I discovered that any association

of my name with a SSN had been done as a matter of fraud. I wrote to the Social
Security Administration over twenty years ago, October 1, 1996, rescinding the

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application that had been submitted associating my name with a SSN, explaining the
fraud and a particularly the prohibitions of religion . Over ten years ago, I won a money
judgment against the United States when my government employer opposed my
disassociation with SSN identification. David Alan Carmichael v. United States, 298
F3d. 1367, U.S. Ct. App. (Fed. Cir., Aug. 2002); 66 Fed. Cl. 115, U.S. Ct. Fed. Cl.
(2005). Through that judgment as well as its judgment payment (Encl. 4, showing the
term “n/a” in the TIN block), the United States government has demonstrated that it
recognizes the religion-based self-executing exception from the requirement of
identifying with a SSN. Your recognizing the self-executing exception to the
requirement on the issuing of my current passport reinforced that important principle of
law.

I understand that you use an electronic chip embedded in the passport book that enables
the passport. Ensure that there is no SSN associated with your records since any
association of my name with a SSN would have to be on the basis of fraud and fraudulent
identity theft and I would therefore not be able to use such a passport without
participating with the fraud as well as violating the prohibitions of the Holy Bible,
Revelation, Chapter Thirteen, inter alia.

Please continue to provide accommodation on the basis of religion according to the
Religious Freedom Restoration Act, 42 USC 2000bb, et seq., and the self-executing First
Amendment, whether or not there is any statutory requirement to obtain or identify with a
SSN for a passport or any other reason.

Thank you for your service. May our Heavenly Father continue and increase His favor
upon you as you serve as one of His ministers according to His grace and power.

Respectfully yours,

Under the penalty of perjury, under the laws of the United States, the foregoing statement
and enclosures I hereby declare true:

[Signature — David Alan Carmichael]
DAC/sIf

1) Current Passport

2) Passport Renewal Application, Form DS 82, with current photo (Memo.
Attachment 6)

3) Payment $110.00, Draft# 051406543 1333572301 1232

4) Judgment Fund Voucher For Payment, 1JAN2006 Fax from U.S. Justice Dept. to
U.S. Treasury Dept.” (Memo. Attachment 7)

Amendment Two 411. In Block “5. Social Security Number” of the passport renewal

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form DS-82, I, Plaintiff David Alan Carmichael wrote, “N/A 42 USC 2000bb see letter.” I
referred to my letter addressed to Secretary of State Rex W. Tillerson, requesting religious
accommodation, mailed with my passport renewal application DS-82. (Memo. Attachment 6)

Amendment Two 412. Enclosed with my passport renewal application form DS-82 on
January 20, 2018, Plaintiff David Alan Carmichael provided a copy of Judgment Fund Voucher
For Payment, 1JAN2006 Fax from U.S. Justice Dept. to U.S. Treasury Dept (Memo. Attachment
7). That form was a communication from the United States Department of Justice to the United
States Department of Treasury, regarding the payment and tax reporting of a money judgment
payment of $165,020.50 to me where I paid approximately $38,000 in taxes. The Department of
Justice in block “6. Taxpayer Identification Number(s):” used the term “n/a” which means
not applicable. According to Treasury Regulations, the Taxpayer Identification Number for
individuals is the Social Security Number.

Amendment Two 413. The full conversation between David Alan Carmichael and
Christine McClean of Consular Affairs, Passport Services, Legal Affairs, Law Enforcement
Liaison was recorded by David Alan Carmichael on March 12, 2019, and turned into a transcript
verified under oath by affidavit on March 21, 2019. The verified conversation transcript is
(Memo. Attachment 3) :

“Chris McLean: Hello, Chris McLean.

David: Hello, I’m David Alan Carmichael. I’m calling on behalf of the American

Christian Liberty Society and for one of our members who made a request for religious

accommodation, and he’s given me power of attorney. I drafted a letter for him a couple

of weeks ago, and he signed it, and it was a request for religious accommodation. He
recently got a letter back and it merely stated that it was from Bureau of Consular Affairs,

Passport Services, Office of Legal Affairs, Law Enforcement Liaison. It sort of said,

‘No, we can’t do it. You don’t get an appeal hearing if you don’t provide a SSN.’ But

one of the things about his letter, it was very clear. It was a request for religious

accommodation. He certainly wasn’t willfully, intentionally, negligently or recklessly
not providing an SSN. And so he addressed the issue of, it says they “may” turn it down

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but it doesn’t say “must” turn it down. He put a FOIA in there asking actually who it is
that makes the determinations, so that if he’s going to have to get it turned down or has to
deal with the situation that they actually know the person who it is that’s making the
determination. So I’m calling, on behalf of, to find information about who it is, if there is
no hearing over it being denied over an SSN, what is the process for religious
accommodation because that process has not been disclosed here.

Chris McLean: The process for religious accommodation. There is not a separate
process for that. The law does not give the Department of State any discretion. So....

David: (interrupting) Except the word is may. May is pretty discretionary.
Chris McLean: Have you, yeah, I’m just trying to pull it up. Give me a moment here.

David: And we do have other members who have had their passports approved, in the
same circumstance. In fact out of Sterling, Virginia.

Chris McLean: They have Social Security Numbers, and have they gotten passports
recently.

David: Then I can explain that, pretty well. There are people who were identified with a
SSA record years ago when they were children, and then as adults came to the conclusion
that they couldn’t participate. They couldn’t identify with the number. And then, at that
point, you know, the response from the Social Security Administration is ‘Well just don’t
identify with the number.’ So, okay, press on smartly. And then, when you get in
situations like this, like you request a passport, to get it renewed, then it depends on who
is across the isles. Some people, they’ ll send back this thing, ‘please sign this affidavit
that says you’ve never had an SSN. Well, as I understand, you’re probably a lawyer, but
that’s a little problematic because how do you an affidavit of first-hand-knowledge of
second-hand information. That’s a little squirley. Because there are some people,
depending on when they wrote the Social Security Administration, either their records
were suppressed, or I think the proper term is suppressed. And they’ve gotten letters
from the Social Security Administration saying, ‘You’ve never had a number’ because
the record was suppressed. Then there was a point when they stopped that procedure. So
people are caught in this quagmire. As we see it, especially if it says “may”, they may
disapprove it if its, you know, somebody’s committing fraud or they owe fifty-thousand
dollars or more to the IRS and their trying to dodge it, that would be a reasonable reason
to deny a passport. And we’re all for it. But when you put a person in a position where,
hey! I can’t help what somebody else’s record is but I personally cannot identify with
that thing and a passport is an identification thing, and if you look at the Religious
Freedom Restoration Act and also the current memorandum to all departments on
religious freedom, it goes into great detail about the back-flips that government needs to
do when it has a conflict with somebody like William and myself. Because I’m in the
situation and of course but my passport got approved. And there’s other people across
the country who got their passport approved, but then William’s is not. So we’re trying
to find out who is it? You can look at the, like the hearing officer, is there something that

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prohibits a hearing officer from looking at the specifics here and say, ““What’s the
intention of the statute?” The intention is against those who owe fifty-thousand dollars or
more, have had due process with the IRS. The intention is to identify them and to keep
them at home. Of course, there is great history in law for that. But there’s also great
history in law for saying, ‘okay, you don’t really fulfill the compelling interest that we’re
looking for here.’ ‘You’re an honest guy with sincere abiding convictions even to the
point where it hurts you.’ ‘So we believe you’re sincere, and of course, all we want to
make sure it that you are a nice guy whose not trying to dodge something and leave the
country.’ Seems to me that there, the appeal process ought to be able to address all the
laws, not just 22 USC 2714a. (sic)

Chris McLean: Okay. That’d be nice. I understand the point you are making. However,
our regulations don’t provide hearings for no security number.

David: Okay.

Chris McLean: ... for denial. And there are certainly other legal avenues available
outside the administrative hearing process. But this Department’s position on this is
very clear and fairly articulated which is that in order to obtain a United States passport,
which is not an entitlement, ?? then you need to comply with the requirements set by the
Department, and those requirements include either providing a social security number or
certifying that you do not have a social security number, meaning that a social security
number has never been issued to you.

David: So there’s one question that I have, to kind of close out, and a statement. But Ill
start with my statement. There was a very interesting Social Security Number that went
to the Supreme Court. It was Bowen versus Roy, it was Bowen B O W E N versus Roy.
One of the things that Bowen versus Roy said there, and actually it precipitated the Smith
versus Employment Division case that Congress actually wrote the RFRA to counter.

But one thing about Bowen versus Roy, it said, if a agency provides a alternative for
some non-religious reason, that it shows hostility toward religion when it provides a, let’s
say, technical accommodation, but not one for religion. I don’t know where you are on
the policy. Most likely you’re probably somebody who has great input on how your
department or your branch looks at these things. So I encourage you to do that. So, and
so we kinda gotta close this conversation here — What I’d like to do now is to know
whether the accommodation request was sent to the Secretary of State because it seems to
me, and us when we put the thing together, that if nobody else has the prerogative, it’s
not in the hearing processing, the due process through the, you know, appeal hearing or
whatever, that no doubt that the Secretary of State who makes regulations would have the
reservation and prerogative, and actually I think ministerial duty if he looks at the facts,
to actually provide the accommodation. How do we know whether, cause we don’t see it
in this letter, whether that request was actually forwarded to the proper office.

Chris McLean: It was forwarded to the proper office.

David: That’s fabulous.

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Chris McLean: And again, Department policy is very clear and it is set out in multiple
locations that a Social Security Number is required (--).

David: Again, my encouragement to you is to consider the Executive Memorandum that
was published, I think two years ago, almost two years ago, in October 2017, for all
Departments that they would apply religious accommodations. And that’s it. I really
appreciate your information. And the very important thing was to know yes that it was
forwarded, because there is a stress reliever right there. That was really helpful. Thank
you very much. You’re Chris McLean and I appreciate your time.

Chris McLean: Hm, hm.

David: Okay, b-bye.”

Amendment Two 414. Christine McClean of Consular Affairs, Passport Services,
Legal Affairs, Law Enforcement Liaison discovered that Carmichael’s passport had been
approved without a SSN during the conversation where Carmichael said, “Because I’m in the
situation and of course but my passport got approved.” (Memo. Attachment 3)

Amendment Two 415. There is no statute or regulation that would mandate the
Defendants send to the Plaintiffs, a form demanding a statement regarding those things that do,
or might, disqualify someone from being issued a passport pursuant to 22 C.F.R. §51.60(a)-(h).

Amendment Two 416. There is no statute or regulation that prohibits the Defendants
from issuing passports to Carmichael, Pakosz or Lewis, unless they first fill out a statement form
other than the passport application, declaring their status or other information regarding thing
that do or might disqualify someone from being issued a passport pursuant to 22 C.F.R.
§51.60(a)-(h).

Amendment Two 417. The person who initiated Carmichael’s passport revocation has
not been disclosed by the Defendants. On the basis of the conversation Carmichael had with

Christian McClean on March 12, 2019, and the other correspondence between Carmichael,

Pakosz and the Bureau of Consular Affairs, Passport Services, Office of Legal Affairs and Law

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Enforcement Liaison, Plaintiff Carmichael believes that it is likely that Christine McClean
initiated the passport revocation in what Carmichael believes is a retaliation because of his
attempts to help Pakosz achieve accommodation for religion, and for Carmichael’s whistle-
blowing to the White House.

Amendment Two 418. Plaintiff Carmichael believes it is likely that the passport
revocation initiator did not communicate to Jonathan Rolbin the fact that there was a request for
religious accommodation with regard to Carmichael’s passport, but it must be confirmed by
discovery.

Amendment Two 419. Plaintiff Carmichael believes it is likely that the passport
revocation initiator did not communicate to Jonathan Rolbin the fact Carmichael had been
assisting Pakosz with communications regarding a religious accommodation for Pakosz’s
passport.

Amendment Two 420. Plaintiff Carmichael believes it is likely that the passport
revocation initiator did not communicate to Jonathan Rolbin the fact that there was
correspondence from the White House regarding Carmichael’s query seeking intervention for the
accommodation of religion regarding the processing of passports.

Amendment Two 421. Plaintiff Carmichael believes it is likely that Christine McClean
falsely stated that William Pakosz’s request for religious accommodation was forwarded to the
proper office that could either communicate his request to the Secretary of State to whom he
directed the request, or to the proper office or officer who could intervene to grant the
accommodation.

Amendment Two 422. The Bureau of Consular Affairs, Passport Services, Office of

Legal Affairs and Law Enforcement Liaison instituted a statement form relating to 22 C.F.R.

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§51.60(f), lacking the power of discretion by law or regulation.

Amendment Two 423. The Bureau of Consular Affairs, Passport Services, Office of
Legal Affairs and Law Enforcement Liaison without due process required by law, instituted a
statement form relating to 22 C.F.R. §51.60(f), though they did not create the same or similar
innovations regarding 22 C.F.R. §51.60(a)-(h).

Amendment Two §24. The Bureau of Consular Affairs, Passport Services, Office of
Legal Affairs and Law Enforcement Liaison without due process required by law, instituted a
statement form relating to 22 C.F.R. §51.60(f), but they did not create the same or similar
innovations regarding an opportunity to make a statement seeking religious accommodation for
humanitarian reasons in keeping with 22 U.S.C. § 2721, and 22 U.S.C. § 2714a(1)(B), and the
Religious Freedom Restoration Act..

Amendment Two 425. The Bureau of Consular Affairs, Passport Services, Office of
Legal Affairs and Law Enforcement Liaison obstructed William Pakosz’s request for religious
accommodation to the Secretary of State by not forwarding it to the Secretary of State as
requested by Mr. Pakosz.

Amendment Two 426. The Defendant sent letters to Mr. Lewis and Pakosz, explaining
that they could not file an appeal for the passport renewal denial, but could continue to reapply,
notwithstanding that the result of the next application would be the same (Memo. Attachment 2).

Amendment Two 427. Neither of the Plaintiffs are those certified by the Secretary of
the Treasury as having seriously delinquent tax debt.

Amendment Two 428. Neither of the Plaintiffs are those to whom, pursuant to 22
C.F.R §51.60(a), “The Department may not issue a passport, except a passport for direct return to

the United States, in any case in which the Department determines or is informed by competent

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authority that:

“(1) The Applicant is in default on a loan received from the United States under 22
U.S.C. 2671(b)(2)(B) for the repatriation of the applicant and, where applicable, the
applicant’s spouse, minor child(ren), and/or other immediate family members, from a
foreign country (see 22 U.S.C. 2671(d)); or

(2) The applicant has been certified by the Secretary of Health and Human Services as
notified by a state agency under 42 U.S.C. 652(k) to be in arrears of child support in an
amount determined by statute.

(3) [Reserved]

(4) The applicant is a covered sex offender as defined in 22 U.S.C. 212bI(1), unless
the passport, no matter the type, contains the conspicuous identifier placed by

the Department as required by 22 U.S.C. 212b.”

Amendment Two 429. Neither of the Plaintiffs are those to whom, pursuant to 22
C.F.R §51.60(b), “The Department may refuse to issue a passport in any case in which

the Department determines or is informed by competent authority that:

“(1) The applicant is the subject of an outstanding Federal warrant of arrest for a
felony, including a warrant issued under the Federal Fugitive Felon Act (18
U.S.C. 1073); or

(2) The applicant is subject to a criminal court order, condition of probation, or
condition of parole, any of which forbids departure from the United States and the
violation of which could result in the issuance of a Federal warrant of arrest,
including a warrant issued under the Federal Fugitive Felon Act; or

(3) The applicant is subject to a U.S. court order committing him or her to a
mental institution; or

(4) The applicant has been legally declared incompetent by a court of competent
jurisdiction in the United States; or

(5) The applicant is the subject of a request for extradition or provisional request
for extradition which has been presented to the government of a foreign country;
or

(6) The applicant is the subject of a subpoena received from the United States
pursuant to 28 U.S.C. 1783, in a matter involving Federal prosecution for, or
grand jury investigation of, a felony; or

(7) The applicant is a minor and the passport may be denied under 22 CFR 51.28;
or

(8) The applicant is subject to an order of restraint or apprehension issued by an
appropriate officer of the United States Armed Forces pursuant to chapter 47 of
title 10 of the United States Code; or

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(9) The applicant is the subject of an outstanding state or local warrant of arrest
for a felony; or

(10) The applicant is the subject of a request for extradition or provisional arrest
submitted to the United States by a foreign country.”

Amendment Two 430. Neither of the Plaintiffs are those to whom, pursuant to 22
C.F.R §51.60I, “The Department may refuse to issue a passport in any case in which:

(1) The applicant has not repaid a loan received from the United States under 22 U.S.C.

2670(j) for emergency medical attention, dietary supplements, and other emergency

assistance, including, if applicable, assistance provided to his or her child(ren), spouse,

and/or other immediate family members in a foreign country; or

(2) The applicant has not repaid a loan received from the United States under 22 U.S.C.

2671(b)(2)(B) or 22 U.S.C. 2671(b)(2)(A) for the repatriation or evacuation of the

applicant and, if applicable, the applicant’s child(ren), spouse, and/or other immediate

family members from a foreign country to the United States; or

(3) The applicant has previously been denied a passport under this section or 22 CFR

51.61, or the Department has revoked the applicant’s passport or issued a

limited passport for direct return to the United States under 22 CFR 51.62, and the

applicant has not shown that there has been a change in circumstances since the denial,

revocation or issuance of a limited passport that warrants issuance of a passport; or

(4) The Secretary determines that the applicant’s activities abroad are causing or are

likely to cause serious damage to the national security or the foreign policy of the United

States.”

Amendment Two 431. Neither of the Plaintiffs are those to whom, pursuant to 22
C.F.R §51.60(d), “The Department may refuse to issue a passport in a case in which
the Department is informed by an appropriate foreign government authority or international
organization that the applicant is the subject of a warrant of arrest for a felony.”

Amendment Two 432. Neither of the Plaintiffs are those to whom, pursuant to 22
C.F.R §51.60(e), “The Department may refuse to issue a passport, except a passport for direct
return to the United States, in any case in which the Department determines or is informed by a

competent authority that the applicant is a minor who has been abducted, wrongfully removed or

retained in violation of a court order or decree and return to his or her home state or habitual

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residence is necessary to permit a court of competent jurisdiction to determine custody matters.”
Amendment Two 433. Because the accusation is false and not the truth according to
the particular facts and circumstances, none of the Plaintiffs are those to whom, pursuant to 22
C.F.R §51.60(f), “The Department may refuse to issue a passport to an applicant who fails to
provide his or her Social Security account number on his or her passport application or who
willfully, intentionally, negligently, or recklessly includes an incorrect or invalid (SSN).
Amendment Two 434. Neither of the Plaintiffs are those to whom, pursuant to 22
C.F.R §51.60(g), “The Department shall not issue a passport card to an applicant who is a
covered sex offender as defined in 22 U.S.C. 212bI(1).
Amendment Two 435. Neither of the Plaintiffs are those to whom, pursuant to 22
C.F.R §51.60(h), “The Department may not issue a passport, except a limited
validity passport for direct return to the United States or in instances where the Department finds
that emergency circumstances or humanitarian reasons exist, in any case in which:

(1) The Department is notified by the Attorney General that, during the covered
period as defined by 22 U.S.C. 212a:

(i) The applicant was convicted of a violation of 18 U.S.C. 2423, and

(ii) The individual used a passport or passport card or otherwise crossed an
international border in committing the underlying offense.

(2) The applicant is certified by the Secretary of the Treasury as having a
seriously delinquent tax debt as described in 26 U.S.C. 7345.

(i) In appropriate circumstances, where an individual’s passport application is
denied or passport revoked consistent with this part, the Department may issue
a limited validity passport good only for direct return to the United States.

[72 FR 64931, Nov. 19, 2007, as amended at 81 FR 60609, Sept. 1,
2016; 81 FR 66185, Sept. 27, 2016; 83 FR 21874, May 11, 2018; 84 FR
67185, Dec. 9, 2019]

Amendment Two 436. Neither of the Plaintiffs were demanded to file a statement

regarding the disqualifying conditions of 51.60(a) and 51.60(b), or the potentially disqualifying

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conditions of 51.60(b)-(h) except for a request for social security number information which
might relate to 51.60(f).

Amendment Two 437. The word “may” in 22 C.F.R. 51.60(f) indicates that the
“Department” is not mandated to deny a passport to an applicant who fails to provide his or her
Social Security account number on his or her passport application or who willfully, intentionally,
negligently, or recklessly includes an incorrect or invalid Social Security account number.

Amendment Two 438. Neither of the Plaintiffs “fail(ed)” to provide his or her Social
Security account number but in fact exercised due diligence in requesting religious
accommodation

Amendment Two 39. The words 22 C.F.R. 51.60(f) “willfully, intentionally,
negligently, or recklessly” are descriptive of words that indicate an action of wrong rather than
an action of right.

Amendment Two 440. The accusation that the Plaintiffs “failed to” or “willfully,
intentionally, negligently, or recklessly” or incorrectly, did not identify with a SSN are false
accusations, there has not been an adversarial trial, indictment, or other prosecution to prove the
accusation according to the law of our land. We are not guilty of anything that justifies the
Defendants’ denial of our right to international travel. We did not fail to provide social security
number information nor did we provide an incorrect number. We provided the social security
number information that applies to us, individually. That information we provided on the form is
just as valid, if not more valid, as is the Defendant’s affidavit form sent to other people which the
law and regulations said we need not file since it does not have a valid OMB number. The
Defendant allows other people, in lieu of an ‘actual’ SSN, to use terms such as “XXX-XX-XXXX”,

99 66.

“n/a”, “not applicable”, “religious prohibition” as the fulfillment of the social security number

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information requirement. Therefore, like other people who have had their passports approved
and renewed without using the exact numbers of a SSN, we did not “fail” to provide a social
security number and our information provided was purposefully correct. Therefore, we have
indeed fulfilled the provisions of 22 CFR 61.60 (f) and therefore ought not to have our passport
renewal be denied or revoked or be denied the due process of an appeal hearing.

FIRST CAUSE OF ACTION
(Violation of 22 USC §2721)

114. The allegations contained in Paragraphs 1 through 113o0f this Complaint are re-
alleged and incorporated herein by presumed reference.

115. Defendant unlawfully denied, revoked, restricted and otherwise limited my passport
renewal applications or cancelled my passport or its application because of my speech, activity,
belief, affiliation, or membership, within or outside the United States which is protected by the
first amendment to the Constitution of the United States, in violation of 22 USC §2721.

116. The failure of the Defendant to comply with 22 USC §2721 and apply an
accommodation for religion that was previously granted to me by the Defendant’s predecessor
was arbitrary, capricious, in bad faith, without any rational basis and contrary to law, regulation
and mandatory published procedure whereby I was seriously prejudiced, resulting in the
unlawful denial of my passport renewal applications; wrongfully causing me expenses and
injury to my property right in the application and its process, under the colorable cancellation,
wrongfully causing me injury to my property and liberty rights in travel and the applied-for
passport necessary to that travel; and monetary injury in the amounts and ways set forth in the
demand for relief below.

SECOND CAUSE OF ACTION
(Violation of 42 USC §2000bb, et. seq.)

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117. The allegations contained in Paragraphs 1 through 113 of this Complaint are re-
alleged and incorporated herein by presumed reference.

118. The Defendant is unlawfully placing a substantial burden upon my bona fide belief
and practice of Christian religion, demanding that I identify with a Social Security Number
which is prohibited in the Revealed law that is of higher authority, penalty and reward of any
worldly law. The Defendant is unlawfully placing that substantial burden without any
compelling interest of government toward me or in general. The Defendant is unlawfully
ignoring those less restrictive means that are already being used by his department to renew or
issue passports without identifying with a Social Security Number for technical reasons and
denying that same accommodation to me in opposition to my religion. Thereby, the Defendant
violates the positive law of the United States that protects religion shown at 42 USC §2000bb, et
seq.

119. The failure of the Defendant to comply with 42 USC §2000bb, et seq., is arbitrary,
capricious, in bad faith, without any rational basis and contrary to law, regulation and mandatory
published procedure whereby I was seriously prejudiced, resulting in the unlawful denial of my
passport renewal applications, wrongfully causing me injury to my property and liberty rights in
travel and the applied-for passport, and monetary injury in the amounts and ways set forth in the
demand for relief below.

THIRD CAUSE OF ACTION
(Violation of Executive Order 13798)

120. The allegations contained in Paragraphs 1 through 113 of this Complaint are re-
alleged and incorporated herein by presumed reference.
121. The Defendant is unlawfully violating the policy of the United States, of the

Executive Order 13798 and its implementing “MEMORANDUM FOR ALL EXECUTIVE

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DEPARTMENTS AND AGENCIES titled, “Federal Law Protections for Religious Liberties.”
The Defendant, in opposition to that United States policy is wantonly using the color of a statute
or regulation as an unreasonable excuse to unlawfully deny, revoke, restrict and otherwise limit
my passport renewal application or cancelling my passport, placing a substantial burden upon my
bona fide belief and practice of Christian religion, demanding that I identify with a Social
Security Number which is prohibited in the Revealed law which is of higher authority, penalty
and reward of any worldly Jaw. Though the statute and regulations, upon which the Defendant
supposedly relies, says his department “may” deny a passport application the Defendant has said
that the department “must” deny the application. Though the United States policy clearly shows
that there is a positive duty for the Defendant to find an accommodation unless truly impossible
or unjustly injures another’s life, liberty or happiness, the Defendant has falsely said that the law
and policy does not allow for accommodation of religion. Thereby, the Defendant violates the
Executive Order 13798 and its implementing memorandum in violation of the public policy of
the United States. He has also failed to disseminate the information to his subordinates.

122. The failure of the Defendant to comply with the policy of the United States, of the
Executive Order 13798 and its implementing “MEMORANDUM FOR ALL EXECUTIVE
DEPARTMENTS AND AGENCIES titled, “Federal Law Protections for Religious Liberties.” is
arbitrary, capricious, in bad faith, without any rational basis and contrary to law, regulation and
mandatory published procedure whereby I was seriously prejudiced, resulting in the unlawful
denial or cancellation of my passport renewal applications, wrongfully causing me expenses and
injury to my property right in the application and its process, injury to my property and liberty
rights in travel and the applied-for passport necessary to that travel, and monetary injury in the

amounts and ways set forth in the demand for relief below.

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FOURTH CAUSE OF ACTION
(Violation of 22 CFR 51.70 and the Fifth Amendment to the U.S. Constitution)

123. The allegations contained in Paragraphs 1 through 113, AND Amendment Two,
paragraphs 1-40 of this Complaint are re-alleged and incorporated herein by presumed reference.
124. The Defendants Unlawfully Revoked Plaintiff Carmichael’s passport without pre-

revocation adversarial due process. They denied Plaintiffs Lewis’s and Pakosz’s passport
renewals contrary to due process. They deny all the Plaintiffs post revocation and post denial
adversarial due process. They strip all the Plaintiffs of their right to international travel
arbitrarily, without the Plaintiffs doing anything wrong, yet punish the Plaintiffs under the guise
of arbitrary and capricious color-of-law machinations.

a. The Defendants on one hand communicated to Carmichael in conversations on the
phone about the denial of Plaintiff Pakosz passport renewal, that no process for appeal or
religious accommodation is available, saying, “The process for religious accommodation. There
is not a separate process for that. The law does not give the Department of State any
discretion...... However, our regulations don’t provide hearings for no security number.”
(Memo. Attachment 3) They then collaterally say they offered a prohibited appeal process

b. The Defendants said to Carmichael in an official letter, ““Pursuant to 22 C.F.R.
51.70, a hearing is not provided for applications denied or passports revoked for failure to
provide a social security number.” (Emphasis added) Bureau of Consular Affairs, Passport
Services, Office of Legal Affairs and Law Enforcement Liaison Itr. to David Alan Carmichael,
June 25, 2019, regarding correspondence forwarded to them by the White House. (Emphasis
added) (Memo. Attachment 2)

c. The Defendants wantonly deny access to any adversarial appeal process through the

Defendants’ regulation, 22 Code of Federal Regulations (C.F.R.) §51.70(b)(2) in conjunction

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with 22 C.F.R. § 51.60(f), whereby the appeal process normally afforded to the majority of
others is denied to the Plaintiffs when their passport applications are denied or revoked. Those
who are accused of failing to provide a Social Security Number, or who are accused of
“willfully, Intelligently, knowingly, or negligently” not identifying with a Social Security
Number are denied adversarial due process to determine whether their not identifying with a
Social Security Number was a wrong or a right under the particular facts and circumstances.

d. The Defendants regulation §51.60(f) paired with §51.70(b)(2) is a violation of the
constitution and due process in that it too broadly, unnecessarily, and improperly sweeps those of
us who are doing acts of righteous religion, hurting nobody, in with those who are doing acts of
wrong. They unlawfully punish us like miscreants or frauds who are not identifying with a
social security number because of a willful, intelligent, negligent or reckless acts of wrong. The
Defendants indiscriminate classification of innocent with malevolent activity must fall as an
assertion of arbitrary power. The regulation is not narrowly drawn to prevent the supposed evil,
which according to the FAST Act is prohibiting travel to those who have by full due process
been certified by the Secretary of the Treasury as having seriously delinquent tax debt.

e. The Defendants regulation §51.60(f paired with §51.70(b)(2) is a violation of the
constitution and due process in that it sets up a standard that would deny and revoke a passport,
and exclude an appeal process for that denial and revocation, using words that are vague, are not
defined in statute, and are arbitrarily applied since it is not clearly spelled out whether those
words apply to those whose motive is to do a wrong or to also those whose motive is to do a
right. The Regulation says that failure to identify with a SSN on the passport application form
“may” cause the application to be delayed or denied but those who implement the regulation are

acting as if the passport application “must” be delayed and denied. There is no standard guiding

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the decision process to determine what facts and circumstances ought to be included, or which
ought to be excluded, in determining whether a passport is or is not delayed or denied for not
identifying with a SSN.

f. The Defendants violated the constitution and due process when they allowed
someone who was not in the chain of decision making, when the Carmichael passport renewal
was adjudicated, to sua sponte become a super-secretary adjudicator after the fact. Waiver
provisions were properly applied in the reign of Secretary of State Rex Tillerson who had the
prerogative under the 22 U.S.C. 2714a(f)\(1)(B) to waive the SSN requirement of Carmichael’s
passport renewal for humanitarian reasons, of which religion is one of those reasons. Secretary
Tillerson also had the prerogative to waive the SSN requirement for reasons of religion pursuant
to 22 U.S.C. §2721 since free exercise of religion is protected by the first amendment and
includes not merely belief, but activity, membership, association, etc. In the after-the-fact
retroactive action by the Defendant against Carmichael, the Secretary of State’s successor to
whom the religious accommodation was addressed was not consulted regarding the waiver
prerogatives that remain reserved to the Secretary of State. The violations of due process by the
Defendants cause the Plaintiffs to be detained without being convicted of a crime and there is no
probable cause for issuing a warrant of arrest by the standards of the Fourth Amendment.

g. The Defendants violated the constitution and due process prohibiting any reasonable
due process by which to obtain a passport or accommodation for religion by saying that we must
continue to reapply for a passport under the same conditions that the Defendant says will warrant
the denial or revocation of our applications for passport. The Defendant is unconstitutionally
demanding that we can recapture our freedom to travel by simply in good faith abandoning our

activity of religion. See Aptheker v. Secretary of State, 378 U.S. 500, 507 (1964)

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h. The Defendants violated the constitution and due process where the Defendant will
rightfully issue passports to people who do not identify with a SSN and have either successfully
evaded any association with a SSN or have succeeded in having the Social Security
Administration suppress any record that was associated with them. The Defendants’ process for
determining which of the ‘haves’ or ‘have-nots’ gets a passport is not substantive due process.

i. The Defendants violated the constitution and due process where their procedure to
separate the ‘SSN-haves and have-nots’ is to demand that those who have already filed a
passport application under oath, fill out a particular secondary form, demanding a particular
statement under oath, where such statement is not prescribed by statute or regulation. In fact,
their demanding the particular attestation under oath on the particular form is a process
proscribed by statute 44 U.S.C. § 3512. Contrary to the due process protected by 44 U.S.C. §
3512 we are penalized by the denial of our right to travel, without due process, where that law of
Congress says that we cannot be penalized for not completing the form.

j. The Defendants violated due process in that the Statute 22 U.S.C. §2714a(f),
subparagraph (1)(A) that “authorizes” them in permissive terms to deny or revoke a passport in
some instances where an applicant does not identify with a SSN; but the Defendant excludes a
provision for our gaining access to the Secretary of State to apply for a waiver, or to enable us to
obtain the waiver provided for in 22 U.S.C. §2714a(f), subparagraph (1)(B).

k. The Defendants violated due process where the Statute 22 U.S.C. §2714acf),
subparagraph (1)(A) uses permissive language to the Secretary of State to deny a passport related
to instances where someone does not identify with a SSN. The Defendants’ regulations
§51.60(f) paired with §51.70(b)(2) institute a mandate to those who apply the regulations that

they should deny or revoke passports when someone does not identify with a SSN;

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notwithstanding that the statute has left to the discretion of the Secretary of State the retained
power do not deny a passport over someone not identifying with a SSN.

125. The actions of the Defendants to deny Plaintiffs Lewis’s and Pakosz’s passport
renewal applications and to revoke Carmichael’s passport without substantive due process of law
is arbitrary, capricious, an abuse of discretion, an act of reprisal for whistle-blowing, a
depravation of the right to travel abroad without due process of law, in violation of the Fifth
Amendment to the Constitution of the United States; and affects the deprivation of rights secured
by the First and Ninth Amendments, It is a severe restriction upon, and in effect a prohibition
against, world-wide foreign travel, injuring our constitutional liberty closely related to free
speech, association, religion, and right to redress grievances. It penalizes and punishes plaintiffs
and restricts our liberty on without even legislative or administrative fact-findings that we are
subversives; penalizing us as if we had committed a crime but without benefit a trial according to
due process, which requires a trial by jury before an independent judge, after an indictment, and
in accordance with all the other procedural protections of the Fourth, Fifth and Sixth
Amendments. It denies the plaintiffs freedom of speech, association, religion, and redress which
the First Amendment guarantees and punishes conduct that is protected by the First and Ninth
Amendments. Aptheker v. Secretary of State, 378 U.S. 500, 507 (1964)

FIFTH CAUSE OF ACTION
(22 CFR 51.60 is Overbroad in violation of the First and Fifth Amendments to the U.S.
Constitution)

126. The allegations contained in Paragraphs 1 through 113 of this Complaint are re-
alleged and incorporated herein by presumed reference.

127. The Defendant is through his regulation 22 CFR §51.60 with 22 CFR §51.70

violating the law of due process protected by the Fifth Amendment to the Constitution of the

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United States since it is overbroad. It affects the denial of rights protected by fundamental, and
other law, of those who cannot, by reason of volition or religion, apply or participate with the
program related to the SSN, arbitrarily imposing upon rights whose protection is guaranteed by
that Constitution.

128. The failure of the Defendant to confine his acts within the boundaries of the
United States Constitution is arbitrary, capricious, in bad faith, without any rational basis and
contrary to law, regulation and mandatory published procedure whereby I was seriously
prejudiced, resulting in the unlawful denial of my passport renewal applications or cancelled my
passport or its application, wrongfully causing me expenses and injury to my property right in
the application and its process, injury to my property and liberty rights in travel and the applied-
for passport necessary to that travel, and monetary suffering in the amounts and ways set forth in
the demand for relief below.

SIXTH CAUSE OF ACTION
(Violation of 42 USC §408(a)(8))

129. The allegations contained in Paragraphs 1 through 113 of this Complaint are re-
alleged and incorporated herein by presumed reference.

130. The Defendant did, and is, violating 42 USC §408(a)(8) where he unlawfully compels
“the disclosure of the social security number of any person in violation of the laws of the United
States.” Though there is authorization for him to ask for such a number, it is unlawful for him to
use his power of coercion over destroying my property an liberty rights attached to my passport,
for which I obtained in 2008 and have been attempting to renew, since I am prohibited by the
higher law of religion from identifying with such a number and he has been made aware of it.

131. The unlawful coercion by the Defendant upon me by unlawfully demanding that |

identify with a SSN, willingly and knowingly attacking me in my duties of religion in violation

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of the laws of the United States, is a felonious act according to 42 USC §408(a). I was thereby
seriously prejudiced, resulting in the unlawful denial of my passport renewal applications;
wrongfully causing me expenses and injury to my property right in the application and its
process, injury to my property and liberty rights in travel and the applied-for passport necessary
to that travel, and monetary suffering in the amounts and ways set forth in the demand for relief
below.

SEVENTH CAUSE OF ACTION
(Violation of 5 USC 552A)

132. The allegations contained in Paragraphs 1 through 113 of this Complaint are re-
alleged and incorporated herein by presumed reference.

133. The Defendant did and is violating the Privacy Act, 5 USC §552(a) where he says on
his passport application/renewal forms that “ failure” to provide information requested on the
form, including your social security number, may result in significant processing delays and/or
the denial of your application. Yet he neglected to correctly state in what conditions make it
voluntary and what make it mandatory; and in what conditions the consequence for not providing
a SSN will result in a denial and what conditions the consequence for not providing a SSN will
result in approval. He failed to particularly notify of the fact, and apply the provisions for, “good
cause.”

134. The unlawful failure of the Defendant to apply the requirements and boundaries of
the Privacy Act, 5 USC 552a, injured me and my rights where I was seriously prejudiced,
resulting in the unlawful denial of my passport renewal applications or cancelled my passport or
its application; wrongfully causing me expenses and injury to my property right in the
application and its process, injury to my property and liberty rights in travel and the applied-for

passport necessary to that travel, and monetary suffering in the amounts and ways set forth in the

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demand for relief below.
EIGHTH CAUSE OF ACTION
(Violation of First and Fifth Amendments, Abridging The Right of Redress of Grievances
by Hiding Perpetrators)

135. The allegations contained in Paragraphs 1 through 113 of this Complaint are re-
alleged and incorporated herein by presumed reference.

136. The Defendant unlawfully refused to comply with law, regulation and his own rules
and policy in assigning an Authorizing Officer and an Appeal Officer who is named and can be
known to me in the application for passport renewal processing, who can be communicated to
about my case with which they are cognizant and for which they are accountable. The
Defendant refused to provide that information forthrightly, and denied to me that information
when I requested or demanded it. The Defendant is thereby hiding perpetrators of unlawful
actions cited in this complaint.

137. The unlawful refusal to disclose to me the names of the actors who refused to comply
with law, regulation and his own rules and policy and deny my passport renewal, and injure me
for the sake of my practice of Christian religion violates the self-executing provisions of the
First, Fifth and/or Ninth Amendments to the Constitution of the United States. I was thereby
seriously prejudiced, resulting in the unlawful denial of my passport renewal applications or
cancelled my passport or its application, , wrongfully causing me expenses and injury to my
property right in the application and its process, injury to my property and liberty rights in travel
and the applied-for passport necessary to that travel, and monetary suffering in the amounts and

ways set forth in the demand for relief below.

NINTH CAUSE OF ACTION
(Violation of 18 USC §241, Conspiracy against rights)

138. The allegations contained in Paragraphs 1 through 113 of this Complaint are re-

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alleged and incorporated herein by presumed reference.

139. In violation of 18 USC § 241, the Defendant and his agents, unlawfully conspired to
injure, oppress, threaten, or intimidate me in the District of Columbia and across state boarder
lines in the free exercise or enjoyment of any right or privilege secured to me by the Constitution
or laws of the United States, and is doing so in retaliation to my attempts to exercise my rights
protected by those laws regarding my property right, privilege, and equal access to the renewal
of my previously secured passport and to also freely exercise religion.

140. The wonton violation of 18 USC § 241 conspiring to deny me the exercise of rights
and privileges of the right renew my passport while also exercising my Christian religion was
arbitrary, capricious, in bad faith, without any rational basis and contrary to law, regulation and
mandatory published procedure whereby I was seriously prejudiced, resulting in the unlawful
denial of my passport renewal applications or cancelled my passport or its application;
wrongfully causing me expenses and injury to my property right in the application and its
process, injury to my property and liberty rights in travel and the applied-for passport necessary
to that travel, and monetary suffering in the amounts and ways set forth in the demand for relief
below.

RELIEF
The Plaintiffs demand the Court to:

141. Assume jurisdiction of this case;

142. Pursuant to 42 USC §2000bb-1, 5 USC §706, 28 USC §1361, §§2201-2201 and the
statutes associated thereto, to the extent necessary to decision and when presented, decide
relevant questions of law, interpret constitutional and statutory provisions and apply them, and

determine the meaning or applicability of the terms of an agency action. Also:

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(1) compel (mandamus or injunction) the Defendant or agency to take action to restore
the Plaintiff Carmichael’s passport that was unlawfully cancelled by voiding the
“cancellation” of Plaintiff Carmichael’s passport; compel the Defendant or agency to take
action to renew the Plaintiffs’ passport for which they applied but were unlawfully delayed or
denied notwithstanding their previous religious accommodation grants; or otherwise compel
the renewal of their passport applications without fee unless the Defendant can show a lawful
prohibition of their freely exiting and entering this and other friendly countries, and

(2) hold unlawful and set aside the Defendant or agency action, findings, and
conclusions found to be—

(A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with
law;

(B) contrary to constitutional right, power, privilege, or immunity;

(C) in excess of statutory jurisdiction, authority, or limitations, or short of statutory
right;

(D) without observance of procedure required by law;

(E) unsupported by substantial evidence in a case subject to sections 556 and 557 of
this title or otherwise reviewed on the record of an agency hearing provided by statute; or

(F) unwarranted by the facts to the extent that the facts are subject to trial de novo by
the reviewing court.

(3) find, hold, and declare unlawful the actions of the defendant and any conspirators,
co-conspirators, or other persons acting under the color of official policy or power, that were
arbitrary, capricious, in bad faith, without any rational basis and contrary to law, regulation

and mandatory published procedure.

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143. Enjoin Defendant and his agency to not deny passport applications for reasons of
failure to be identified with a SSN on the basis of their religion, Plaintiffs, their families, and
those of their religious belief and practice who cannot identify with a SSN for reasons of religion
whether or not the SSA or any other agency may claim to have associated that person with a
SSN.

144. Award to Plaintiffs a civil penalty against the Defendant pursuant to relief available
under United States law, 5 USC 552a(g)(1), and attorney’s fees pursuant to 5 USC 552a(g)(3);
and actual damages sustained by them but in no case less than the sum of $1,000 and attorney’s
fees should they eventually be applicable pursuant to 5 USC 552a(g)(4).

145. Award money to Plaintiffs as restitution and a penalty against the Defendant in the
amount of no more that $500,000 for the felonious acts by the organization pursuant to pursuant
to 42 USC 408(b) and 28 USC §3571(a) and (c)(3).

146. Award money damages to Plaintiffs as a punitive measure, and for restitution,
penalizing the Defendant and his agents in their official capacity violating 18 USC §241
conspiring to deny Plaintiffs’ rights to the passport/renewal for which they applied, and for
willfully injuring their right to access to a passport and to be protected by those laws protecting
in the free exercise of my Christian religion.

147. Award money damages to Plaintiffs for the extra fees they paid for any additional
applications which were not necessary, nor appropriate since their application was for renewal of
their passports which were still valid when they began the process to renew it.

148. Provide other relief that might be known or found to be suitable, lawful, equitable or
otherwise which is in the power of the court to grant in keeping with the Federal Tort Claims

Act.

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149. Award money to Plaintiffs for Cost of Attorney’s fees and other expenses, pursuant to
the Equal Access To Judgment Act, 5 U.S.C. §504; 28 U.S.C. §1361, §2412, with adjustments
for particular specialty of legal aid and experts and for cost of living increases like the process
set forth in Carmichael v. United States, 70 Fed. Cl. 81, 85 (2006).

SEVERABILITY

150. Any such paragraphs, counts, claims, or other things herein which might be
determined based upon facts and law to be limited by immunity, qualified immunity, or sounding
in tort not particularly allowable to be brought against the United States or an officer acting in
their official capacity, or upon a person acting merely under the color of law of the United States
or a State, shall be severable from this case specifically limited to where those portions are
limited by immunity or qualified immunity or sounding in tort and where relief is not been
provided by an Act of the Congress of the United States. Any such disqualification for reasons
of immunity, qualified immunity or sounding in tort, shall be reserved for a separate suit where
any person discovered to be acting under the color of law rather than their official capacity can
be held accountable for their own actions where the United States or Defendant Michael Richard
Pompeo acting in his official capacity retain the blessings of sovereign immunity.

I, David Alan Carmichael, swear that the foregoing statements known by me first-hand are true.

The other facts, deducible by the facts and circumstances, are believed by me to be true unless
refuted by proof. Under the penalty of perjury under the laws of the United States:

/ . 7? A, VA : OY
Signed Med l (derive the bate: Lea Gove Lop > oe
David Alan Carmichael —
1748 Old Buckroe Road
Hampton, Virginia 23664
(757) 850-2672 / david@freedomministries.life

 

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I, William Mitchell Pakosz, for the purpose of the complaint amendment on this day, do swear
that the foregoing statement of facts for which I have first-hand knowledge are true. The other
facts, deducible by the facts and circumstances, are believed by me to be true unless refuted by
proof. Under the penalty of perjury under the laws of the United States:

 

P.O. Box 25
Matteson, Illinois 60443
(708) 748-8585

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